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                       PAROLEE CHRONO REPORT
                 FROM 01/01/1999 THRU 11/04/2022

 NAME: GOULBOURNE,JONATHAN                               AREA: BROOKLYN III
NYSID:                                               SPO NAME: TAYLOR,PAUL
  DIN:                                                PO NAME: MELHADO,GODFREY

                    TYPE                         ACTIVITY           LOCATION

ENTERED BY:
01/14/2019 04:30AM COMPAS BC REVIEW
PO AND COMPAS RECOMMENDS LOWERING LEVEL. LEVEL LOWERED TO A 4.
SPO REVIEW: NONE
--------------------------------------------------------------------------------
ENTERED BY:
01/14/2019 04:30AM COMPAS PO REVIEW
SPO REVIEW: NONE
--------------------------------------------------------------------------------
ENTERED BY:
01/14/2019 04130AM COMPAS CSR COMPLETED
SCREENER: GODFREY MELHADO
LOCATION: BROOKLYN I - V
SPO REVIEW: NONE

ENTERED BY: TAYLOR,PAUL D
REPORT TAKEN BY: TAYLOR,PAUL
11/29/2018 07:00PM SUPV STANDARDS CONFERENCE
CONTACT ADDRESS: 15 SECOND AVENUE ,BKLYN
CASE CONFERENCE
PO WILL ENSURE THAT THIS CASE IS SUPERVISED AS PER COMPAS LEVEL STANDARDS.
SPO REVIEW: 11/30/2018

ENTERED BY: MELHADO,GODFREY R
11/27/2018 04:18PM COMPAS CSR COMPLETED
COMPAS COMPLETED. PO MELHADO RECOMMENDS P STAY AT HIS CURRENT LEVEL. P WILL BE
DISCHARGED 02/19.
SPO REVIEW: NONE

ENTERED BY: MELHADO,GODFREY R
11/15/2018 03:42PM OFFICE REPORT W/PAROLEE    REVIEWED CONDIT!
                                              CURFEW DISCUSSED
NRD:02/04/19@ 10:00AM P WILL REPORT ON 02/04/19 HIS HIS MAX DATE. P REPORTED NO
 ISSUES OR CONCERNS. PIS STILL AT HIS APPROVED RESIDENCE. PIS EMPLOYED. P STA
TED NO POLICE CONTACT. P HAS PENDING COURT CASES.
SPO REVIEW: 12/03/2019

ENTERED BY: TAYLOR,PAUL D
REPORT TAKEN BY: TAYLOR,PAUL
10/30/2018 07:00PM OTHER VISIT W/OTHER
CONTACT ADDRESS: 15 SECOND AVENUE,BROOKLYN,NY
CASE CONFERENCE.
SPO REVIEW: 10/31/2018

ENTERED BY: MELHADO,GODFREY R
10/28/2018 08:30PM HOME VISIT W/PAROLEE
CONTACT ADDRESS: 760 E 45TH ST~BASEMENT,BROOKLYN,11212
PO MELHADO CONDUCTED A HOME VISIT. P'S APRTMENT IS IN THE BASEMENT. IN THE REAR
 OF THE HOUSE IS THE ENTRANCE. P REPORTED NO ISSUES OR CONCERNS. P STATED NO PO
LICE CONTACT.
SPO REVIEW: NONE
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                          PAROLEE CHRONO REPORT
                    FROM 01/01/1999 THRU 11/04/2022

 NAME: GOULBOURNE,JONATHAN                                AREA: BROOKLYN III
NYSID:                                                SPO NAME: TAYLOR,PAUL
  DIN:                                                 PO NAME: MELHADO,GODFREY

~O=A~T=E~-- TI ME     TYPE                        ACTIVITY          LOCATION

ENTERED BY: MELHADO,GODFREY R
AREA: BROOKLYN III   SPO NAME: ADAMS,CATHERINE      PO NAME: MELHADO,GODFREY
08/23/2018 12:35PM OFFICE REPORT W/PAROLEE     REVIEWED CONDITI
                                               CURFEW DISCUSSED
NRD:ll/l5/l8@0600PM P WAS GIVEN AN APPOINTMENT SLIP.P WAS DIRECTED TO REPORT TO
 15 SECOND AVE, BROOKLYN AREA OFFICE. PO MELHADO CHECKED CMS. P WAS ENTITLED TO
 VOTERS PARDON. HIS FORMER PO DID NOT PROVIDE IT. PO MELHADO DOESNT HAVE COPY D
UE TO THIS CASE BEING TRANSFERRED FROM THE BRONX. P LIVES IN A FURNISHED ROOM.
P WORKS IN BUILDING MAINTENANCE. P HAS PENDING FAMILY COURT CASE FOR CHILD SUPP
ORT. P HAS NO PENDING CRIMIAL CASE. PIS NOT PENDING A DRUG TEST, HOWEVER HE HA
SNT PROVIDED A DIRTY URINE. P COMPLETED ANGER MANAGEMENT PROGRAM. P HAS BEEN EM
PLOYED FOR 5 MONTHS. HE HAS SIX CHILDREN WITH TWINS ON THE WAY. P DIRECTED TOR
EPORT ALL POLICE CONTACT.
SPO REVIEW: NONE

ENTERED BY: DANDRIDGE,SHANAVIA N
AREA: BROOKLYN III   SPO NAME: TAYLOR,PAUL         PO NAME: DANDRIDGE,SHANAVIA
08/16/2018 Ol:37PM OFFICE REPORT W/PAROLEE
SUBJECT REPORTED AS DIRECTED. SUBJECT STATED THAT HE RESIDES AT 760 E 45TH STRE
ET, BROOKLYN, NY. SUBJECT'S PHONE NUMBER         . SUBJECT STATED THAT HE WORKS
 AT NYC OFFICE SUITES.SUBJECT COMPLETED ANGER MANGMENT. SUBJECT REPORTED TD THE
 OFFICE WITH BMW CAR KEYS IN HIS POSSESSION AND NO LICENCE. PO DANDRIDGE, GUIDE
N, COUNCIL AND PRESSLEY SEARCHED THE VACINITY BUT WAS UNABLE TO LOCATE THEVEHIC
LE. SUBJECT rs NOT AWARE OF WHO OWNS THE VEHICLE. SUBJECT ADVISED TO CONTACT PO
 DANDRIDGE WITH THE NAME AND INFORMATION OF THE INDIVUSL WHO OWNS THEY CAR, SO
THAT THEY CAN COM ETD 12 2ND AVE, BROOKLYN, NY AND RETRIEVE THE KEYS. NRD 8/23/
18 TO MEET WITH PO MELHADO.
SPO REVIEW: NONE

ENTERED BY: DANDRIDGE,SHANAVIA N
AREA: BROOKLYN III   SPO NAME: TAYLOR,PAUL         PO NAME: DANDRIDGE,SHANAVIA
08/16/2018 Ol:30PM CASE CONFERENCE
CASE CONFRENCED WITH SPO TAYLOR, CASE TO BE TRANSFFERED TO PO MELHADO, AS SUBJE
CT RESIDES IN THE CONFINES OF THE 67TH PRECINCT.
SPO REVIEW: NONE

ENTERED BY: TAYLOR,PAUL D
AREA: BROOKLYN III   SPO NAME: TAYLOR,PAUL         PO NAME: DANDRIDGE,SHANAVIA
REPORT TAKEN BY: TAYLOR,PAUL
07/31/2018 03:00PM SUPV STANDARDS CONFERENCE
CONTACT ADDRESS: 15 SECOND AVENUE,BK
PO WILL SUPERVISE THIS CASE AS PER COMPAS LEVEL STANDARDS.
SPO REVIEW: 07/31/2018
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ENTERED BY: SKYERS,MARIE
AREA: BRONX V        SPO NAME: RANDOLPH,MARCELLUS PO NAME: SKYERS,MARIE
07/23/2018 09:20AM OFFICE REPORT W/PAROLEE    PHOTO TAKEN
SUBJECT REPORTED AS DIRECTED. SUBJECT DENIED POLICE CONTACT AND SUBSTANCE ABUSE
AS PER SUB, NO CHANGES TO HIS ADDDRESS OR TELEPHONE NUMBER. SUBJECT WAS
GIVEN THE CONTACT INFORMATION FOR FOR PO DANDRIGE AND THE NRD DATE. NRD 8-16-18
WHICH WAS GIVEN TO SUBJECT.
SPO REVIEW: NONE
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                         PAROLEE CHRONO REPORT
                   FROM 01/01/1999 THRU 11/04/2022

 NAME: GOULBOURNE,JONATHAN                                                        AREA: BROOKLYN III
NYSID:                                                                        SPO NAME: TAYLOR,PAUL
  DIN:                                                                         PO NAME: MELHADO,GODFREY

-D~A-T-E~-- TIME     TYPE                                              ACTIVITY              LOCATION

ENTERED BY: ADAMS,CATHERINE
AREA: BRONX V        SPO NAME: RANDOLPH,MARCELLUS PO NAME: SKYERS,MARIE
07/16/2018 02:48PM OTHER WORK
PLEASE TAKE PHOTO BEFORE SUBJECT MAKES OFFICE REPORT TO BK03
ON 8/16/18 BEFORE 7PM TO PO DANDRIDGE #0381/SPO TAYLOR #0100 TO
15 2ND AVE., BKLYN 11215
SPO REVIEW: NONE

ENTERED BY: SKYERS,MARIE
AREA: BRONX V        SPO NAME: RANDOLPH,MARCELLUS PO NAME: SKYERS,MARIE
07/12/2018 10:16AM TRANSFER SUMMARY
SUBJECT NO LONGER LIVES IN THE BRONX, HE CURRENTLY LIVES IN BROOKLYN. SUBJECT
IS ALSO EMPLOYED.    SUBJECT COMPLETED ANGER MANAGEMENT AT NETWORK. SUBJECT'S
LAST TOXIOLCOGY SCREENING WAS NEGATIVE.
SPO REVIEW: NONE

ENTERED BY: SKYERS,MARIE
AREA: BRONX V        SPO NAME: RANDOLPH,MARCELLUS PO NAME: SKYERS,MARIE
07/11/2018 05:34AM HOME VISIT W/PAROLEE       CURFEW
PO SKYERS AND RIVERA VISITED SUBJECT'S HOME. SUBJECT WAS SEEN. HE DIDNOT REPORT
ANY ISSUES OR CONCERN. SUBJECT REPORTED HE IS ON HIS WAY TO WORK.
PO SKYERS TOLD SUBJECT HE WILL BE TRANSFER TO A BROOKLYN PAROLE OFFICER.
SPO REVIEW: NONE

ENTERED BY: SKYERS,MARIE
AREA: BRONX V        SPO NAME: RANDOLPH,MARCELLUS PO NAME: SKYERS,MARIE
06/28/2018 11:07AM TELEPHONE TO PAROLEE
WRITER SPOKE TO SUBJEC AND HE REPORTED HE MOVED ON 6-22-18. HE ALSO REPORTED
HE PROVIDED HIS NEW ADDRESS TO HIS FORMER PO.
SPO REVIEW: NONE

ENTERED BY: SKYERS,MARIE
AREA: BRONX V        SPO NAME: RANDOLPH,MARCELLUS PO NAME: SKYERS,MARIE
06/28/2018 07:30AM HOME VISIT W/OTHER
CONTACT ADDRESS: 1851 PHELAN PL#3D2,BRONX,10453
PO SKYERS AND PO RIVERA VISITED SUBJECT'S LAST APPROVED RESIDENCE AND SPOKE TO
A STAFF WHO REPORTED SUBJECT MOVED OUT THE SHELTER A FEW DAYS AGO.
SPO REVIEW: NONE

ENTERED BY: SKYERS,MARIE
AREA: BRONX V        SPO NAME: RANDOLPH,MARCELLUS                               PO NAME: SKYERS,MARIE
06/19/2018 12:00PM OTHER WORK
SUBJECT WAS ASSIGNED TO WRITER ON 6-19-18.
SPO REVIEW: NONE
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                            PAROLEE CHRDND REPORT
                      FROM 01/01/1999 THRU 11/04/2022

 NAME: GDULBDURNE,JDNATHAN                                  AREA: BROOKLYN III
NYSID:                                                  SPD NAME: TAYLDR,PAUL
  DIN:                                                   PO NAME: MELHADD,GDDFREY

-D~A~T-E_ _ _ TI ME     TYPE                        ACTIVITY          LOCATION

ENTERED BY: BOUCK,JENNIFER
AREA: BRONX V         SPO NAME: CAMPBELL,RDNNITA     PD NAME: BDUCK,JENNIFER
05/15/2018 09:06AM OFFICE REPORT W/PAROLEE     CURFEW DISCUSSED
                                               REVIEWED CONDITIONS
                                               URINE/DRUG NEGATIVE
SUBJECT REPORTED AS DIRECTED. SUBJECT WAS QUESTIONED ABOUT HIS RESIDENCE, AS p
D WAS PREVIOUSLY INFORMED THAT SUBJECT OFTEN ENTERS SHELTER AFTER CURFEW HOURS.
  SUBJECT INDICATED THAT THIS IS DUE TD HIS WORK SCHEDULE. SUBJECT REMAINS EMP
LOYED AND BEGINS WORK AT BAM AND STATED HE OFTEN FINISHES AT 10PM. SUBJECT WAS
 DIRECTED TO PROVIDE PAYSTUB ON NEXT REPORT DATE. SPECIAL CONDITIONS REVIEWED
WITH SUBJECT AND HE INDICATED HE UNDERSTOOD SUCH. SUBJECT DENIES ANY POLICE CO
NTACT DR DRUG USE.  DRUG TEST NEGATIVE FDR DRUG USE.    NRD 8/7/2018
SPD REVIEW: NONE

ENTERED BY: BDUCK,JENNIFER
AREA: BRONX V        SPD NAME: CAMPBELL,RDNNITA    PD NAME: BDUCK,JENNIFER
05/10/2018 08:51AM OTHER WORK
CASE ADMINISTRATIVELY TRANSFERRED TD PO ON 4/30/2018.
SPD REVIEW: NONE

ENTERED BY: BDUCK,JENNIFER
AREA: BRONX V        SPO NAME: CAMPBELL,RDNNITA    PO NAME: BDUCK,JENNIFER
05/07/2018 10:04AM TELEPHONE TO PAROLEE
PD CONTACTED SUBJECT AND LEFT VOICEMAIL DIRECTING HIM TD REPORT FDR OFFICE VISI
T ON 5/15/2018.
SPD REVIEW: NONE

ENTERED BY: BOUCK,JENNIFER
AREA: BRONX V         SPD NAME: CAMPBELL,RDNNITA    PD NAME: BDUCK,JENNIFER
05/04/2018 09:06AM HOME VISIT W/DTHER
CONTACT ADDRESS: 1851 PHELAN PL#3D2,BRDNX,10453
HOME VISIT ATTEMPTED AT 1851 PLELAN PLACE, BRONX, NY. SUBJECT WAS NOT PRESENT
AT THE TIME.   PO SPOKE WITH CASE MANAGER WHO INDICATED THAT HE SIGNED OUT AT 6:
20AM.  MS. BIBB CCASE MANAGER) ALSO NOTED THAT THE SUBJECT OFTEN MISSES NIGHTS
AT THE SHELTER DR LEAVES.   PO WILL DISCUSS SUCH WITH SUBJECT ON NEXT REPORT DAT
E.
SPD REVIEW: NONE

ENTERED BY: CAMPBELL,RDNNITA L
AREA: BRONX V        SPO NAME: CAMPBELL,RDNNITA     PO NAME: BDUCK,JENNIFER
REPORT TAKEN BY: CAMPBELL,RDNNITA
05/03/2018 09:45AM SUPV STANDARDS CONFERENCE
WITH PD BOUCK
PD INFORMED THAT THIS WILL BE NEW TRANSFER. UPON INITILA DP, PD ID DIRECTED TD
REVIEW PAROLE CONDITIONS, IMPOSE SPECIAL CONDITIDNS,CONDUCT DRUG TEST, CONDUCT
HVP AND EVP IN ORDER TD VERIFY AND SUPERVISE ACCORDNG TD COMPAS LEVEL FOUR STAN
DAROS
SPO REVIEW: 05/07/2018
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                            PAROLEE CHRONO REPORT
                      FROM 01/01/1999 THRU 11/04/2022

 NAME: GOULBOURNE,JONATHAN                                  AREA: BROOKLYN III
NYSID:                                                  SPO NAME: TAYLOR,PAUL
  DIN:                                                   PO NAME: MELHADO,GODFREY

=D~A~T=E_ _ _ TI ME     TYPE                        ACTIVITY          LOCATION

ENTERED BY: WALLACE,MARGARET B
AREA: QUEENS III      SPO NAME: DIXON,MELINDA      PO NAME: WALLACE,MARGARET
04/24/2018 02:30PM TRANSFER SUMMARY
 SUBJECT IS RESIDING IN THE CONFINEMENT OF THE 46 PCT LOCATED AT 1851 PHELAN PL
 BRONX NY RM-3E02. SUBJECT IS WORKING FULLTIME FOR CHEF ACTIVE STAFFING.
ALL MANDATED PROGRAM HAS BEEN COMPPLETED.
NO ISSUSES TO REPORT.
SPO REVIEW: NONE

ENTERED BY: WALLACE,MARGARET B
AREA: QUEENS III     SPO NAME: DIXON,MELINDA       PO NAME:; WAL LACE, MARGARET
04/22/2018 12:25PM HOME VISIT W/OTHER
CONTACT ADDRESS: 1851 PHELAN PL#3D2,BRONX,10453
VISIT WAS MADE TO THE APPROVED ADDRESS AT 1851 PHELAN PL BRONX NY RM#3E02
PHELAN MEN'S SHELTER. STAFF CHECKED THE SIGN IN/OUT LOG AND STATE SUBJECT SING
OUT TODAY AT 7:05AM. STAFF STATE SUBJECT SHOULD BE HERE TILL HE FINE AN APARTME
NT.
SPO REVIEW: NONE

ENTERED BY: WALLACE,MARGARET B
AREA: QUEENS III     SP □ NAME: DIXON,MELINDA      PO NAME: WALLACE,MARGARET
03/19/2018 11:00AM TELEPHONE FROM OTHER
SUBJECT CALLED AND STATE THAT HIS SHELTER MOVED HIM ON 3/16/18 TO 1851 PHELAN P
L. BX NY 10453 RM# 3D2
SPO REVIEW: 04/19/2018

ENTERED BY: DIXON,MELINDA
AREA: QUEENS III     SPO NAME: DIXON,MELINDA       PO NAME: WALLACE,MARGARET
03/08/2018 12:12PM SUPV STANDARDS CONFERENCE
  SUPERVISE AS PER STANDARDS, MONITOR PAYMENT OF PARKING TICKET IN NASSAU COUNT
Y, ENCOURAGE EMPLOYMENT, VERIFY PROGRAM STATUS AND COMPLIANCE.
SPO REVIEW: 03/08/2018

ENTERED BY: WALLACE,MARGARET B
AREA: QUEENS III      SP □ NAME: PO,UNK MARTINEZ   PO NAME: WALLACE,MARGARET
02/26/2018 02:30PM OFFICE REPORT W/PAROLEE
SAME ADDRESS, NO POLICE CONTACT, NO DRUG USE. SUBJECT STATE THAT HE HAS A PARKI
NG TICKET IN LONG ISLAND AND WOULD LIKE TO PAY IT, SUBJECT WAS TOLD TO TEXT THE
 DATE HE WILL BE PAYING THE TICKET. ND ISSUSES TO REPORT. NRD-5/21/18
SPO REVIEW: NONE

ENTERED BY: PEREZ,MALEISHA
AREA: QUEENS III     SPO NAME: PO,UNK MARTINEZ      PO NAME: WALLACE,MARGARET
REPORT TAKEN BY: PEREZ,MALEISHA
02/15/2018 08:26PM HOME VISIT W/PAROLEE        CURFEW
CONTACT ADDRESS: 95-65 TUCKERTON ST,JAMAICA,11432
P WAS HOME DURING CURFEW HOURS, VISIT WAS WITH PO SANDERS.
SP □ REVIEW: NONE
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                            PAROLEE CHRONO REPORT
                      FROM 01/01/1999 THRU 11/04/2022

 NAME: GOULBOURNE,JONATHAN                                  AREA: BROOKLYN III
NYSID:                                                  SPO NAME: TAYLOR,PAUL
  DIN:                                                   PO NAME: MELHADO,GODFREY

=D=A~T=E_ _ _ TI ME     TYPE                        ACTIVITY          LOCATION

ENTERED BY: SANDERS,ALESCIA N
AREA: QUEENS III     SPO NAME: PO,UNK MARTINEZ           PO NAME: WALLACE,MARGARET
02/13/2018 10:28AM TELEPHONE TO PAROLEE
SUB TOLD TO REPORT ON 02/26/18
SPO REVIEW: NONE

ENTERED BY: CHUNG,ROGER A
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA       PO NAME: WALLACE,MARGARET
REPORT TAKEN BY: CHUNG,ROGER
01/22/2018 05:23PM CASE CONFERENCE                              AREA OFFICE
 DHS HOTEL, WEAPONS HISTORY, EMPLOYED, FEES DISCUSSED, COMPLETED NETWORK, NO PR
OBLEMS, HV AND DRUG TEST.
SPO REVIEW: NONE

ENTERED BY: OSOUNA,LINDSY A
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA       PO NAME: WALLACE,MARGARET
11/13/2017 12:06PM OFFICE REPORT W/PAROLEE    REVIEWED CONDIT! AREA OFFICE
                                              CURFEW DISCUSSED
                                              URINE/DRUG NEGATIVE
SUBJECT REPORTED AS DIRECTED. SAME ADDRESS ANF CONTACT INFO ON FILE. DENIES ANY
DRUG OR ALCOHOL USE. DENIES ANY LAW ENFORCEMENT CONTACT. SUBJECT PROVIDED CONF#
78529272 FOR SUPERVISION FEE PAYMENT FOR SEPT, OCT AND NOV. P PROVIDED COPY OF
HIS PAYSTUB. UPDATED EMPLOYMENT SCREEN. SUBJECT DID NOT PROVIDE DRIVERS ABSTRAC
T. DENIES ANY ISSUES TO REPORT. URINE NEGATIVE, 6 PANEL OBSERVED BY PO MARTINEZ
REPORT TAKEN BY PO OSOUNA # 133
NRD 2/19/18 6PM
SPO REVIEW: NONE

ENTERED BY: BRYANT,BRENDA
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA       PO NAME: WALLACE,MARGARET
10/31/2017 04:18PM CASE CONFERENCE
       W/ P.O WALLACE. DRUG/ALCOHOL TEST IS OVERDUE/. UPDATE PROGRAM SCREEN. ST
ILL WORKING OFF THE BOOKS. ENCOURAGE TO SEEK ON THE BOOKS EMPLOYMENT.
SPO REVIEW: 10/31/2017

ENTERED BY: WALLACE,MARGARET B
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA       PO NAME: WALLACE,MARGARET
10/24/2017 10:15PM HOME VISIT W/PAROLEE       CURFEW
CONTACT ADDRESS: 95-65 TUCKERTON ST,JAMAICA,11432
SUBJECT SEEN AT HIS APPROVED ADDRESS, VISIT MADE WITH PO SANDERS
SPO REVIEW: NONE
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ENTERED BY:
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA             PO NAME: WALLACE,MARGARET
10/20/2017 04:0lAM COMPAS BC REVIEW
SPO REVIEW: NONE
--------------------------------------------------------------------------------
ENTERED BY:
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA             PO NAME: WALLACE,MARGARET
10/20/2017 04:0lAM COMPAS PO REVIEW
SPO REVIEW: NONE
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                      PAROLEE CHRONO REPORT
                FROM 01/01/1999 THRU 11/04/2022

 NAME: GOULBOURNE,JONATHAN                              AREA: BROOKLYN III
NYSID:                                              SPO NAME: TAYLOR,PAUL
  DIN:                                               PO NAME: MELHADO,GODFREY

-D~A~T-E_ _ _ TIME   TYPE                       ACTIVITY           LOCATION

ENTERED BY:
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA         PO NAME: WALLACE,MARGARET
10/20/2017 04:0lAM COMPAS CSR COMPLETED
SCREENER: MARGARET WALLACE
LOCATION: QUEENS I - I II
SPO REVIEW: NONE

ENTERED BY: WALLACE,MARGARET B
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA       PO NAME: WALLACE,MARGARET
10/07/2017 10:30AM HOME VISIT W/OTHER
CONTACT ADDRESS: 95-65 TUCKERTON ST,JAMAICA,11432
SUBJECT WAS NOT HOME AT TIME OF VISIT, STAFF STATE THAT HE WENT TO WORK AND IS
IN ROOM 505.
SPO REVIEW: NONE

ENTERED BY: WALLACE,MARGARET B
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA       PO NAME: WALLACE,MARGARET
08/14/2017 11:20AM OFFICE REPORT W/PAROLEE    CURFEW DISCUSSED
                                              FEES PAID
SAME ADDRESS, NO POLICE CONTACT, NO DRUG USE.SUBJECT STILL WORKING AND WILL SEN
DA PHOTO OF HIS PAY STUB. SUBJECT SUBMITTED HIS COMFIRMATION NUMBER FOR PAYING
 HIS SUPERVISION FEE MAY,JUNE,JULY AND AUGUST 2017. SUBJECT REQUESTED TO GET HI
S DRIVER LICENSE AND WAS TOLD THAT HE WILL NEED TO SUBMITTED A COPY OF HIS VEHI
CLE ABSTRACT. NO ISSUSES TO REPORT. NRD-11-13-17
SPO REVIEW: NONE

ENTERED BY: BRYANT,BRENDA
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA       PO NAME: WALLACE,MARGARET
07/12/2017 12:38PM CASE CONFERENCE
      CC W/ P.O WALLACE. REMAINS VERIFIABLY EMPLOYED. ENCOURAGE PTO PAY HIS SU
PERVISION FEE. RECEIVES FOOD STAMPS FROM HRA.
SPO REVIEW: 07/12/2017

ENTERED BY: WALLACE,MARGARET B
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA       PO NAME: WALLACE,MARGARET
07/09/2017 10:45AM HOME VISIT W/PAROLEE
CONTACT ADDRESS: 95-65 TUCKERTON ST,JAMAICA,11432
SUBJECT WAS SEEN AT HIS APPROVED ADDRESS, ON HIS WAY TO CHURCH
SPO REVIEW: NONE

ENTERED BY: WALLACE,MARGARET B
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA         PO NAME: WALLACE,MARGARET
07/07/2017 11:15AM HOME VISIT W/OTHER
CONTACT ADDRESS: 95-65 TUCKERTON ST,JAMAICA,11432
SUBJECT NOT HOME AT TIME OF HOME VISIT
SPO REVIEW: NONE
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                            PAROLEE CHRONO REPORT
                      FROM 01/01/1999 THRU 11/04/2022

  NAME: GOULBOURNE,JONATHAN                                 AREA: BROOKLYN III
 NYS ID:                                                SPO NAME: TAYLOR,PAUL
   DIN :                                                 PO NAME: MELHADO,GODFREV
-D~A~T=E_ _ _ TI ME     TYPE                        ACTIVITY          LOCATION
 ENTERED BY: WALLACE,MARGARET B
 AREA: QUEENS III     SPO NAME: BRYANT,BRENDA        PO NAME: WALLACE,MARGARET
 05/15/2017 10:00AM OFFICE REPORT W/PAROLEE    CURFEW DISCUSSED
                                               FEES PAID
 SAME ADDRESS, 95-65 TUCKERTON ST JAMAICA NY RM-505, NO POLICE CONTACT, NO DRUG
 USE. ALL AMNDATED PROGRAMS ARE COMPETED. SUBJECT STATED HE PAID HIS SUPERVION
 AND SUBMITTED A COMUFIMTION NUMBER OF 72149943 I~ THE AMOUNT OF $30.00 ON 5-12-
 17. SUBJECT WAS GIVEN PERMISSION TO ATTEND HIS BABY SHOWER ON 5-20-17 WITH HIS
 GIRLFRIEND                  LOCATED AT 1271 JEFFERSON AVE BROOKLYN NY FROM-3PM
 TO 11PM.
 NRD-8-14-17
 SPO REVIEW: 10/31/2017 ·
ENTERED BY: WALLACE,MARGARET B
AREA: QUEENS III      SPO NAME: BRYANT,BRENDA      PO NAME: WALLACE,MARGARET
05/11/2017 09:00PM HOME VISIT W/PAROLEE       CURFEW
CONTACT ADDRESS: 95-65 TUCKERTON ST,JAMAICA,11432
SUBJECT SEEN AT HIS APPROVED ADDRESS, VISIT MADE WITH PO SANDERS.
SP □ REVIEW: 10/31/2017


ENTERED BY: WALLACE,HARGARET B
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA          PO NAME: WALLACE,MARGARET
04/10/2017 12:30PM OFFICE REPORT W/PAROLEE       CURFEW DISCUSSED
                                                 FEES DISCUSSED
                                                 PAR GRIEV
                                                 URINE/DRUG NEGATIVE
  SUBJECT IS A NEW TRANSFER FROM BROOKLYN OFFICE AND IS RESIDING AT DAYS INN-95-6
  5 TUCKERTON ST JAMAICA NY RM-505. SUBJECT STATE THAT HE'S WORKING OFF THE BOOKS
  FOR CAPS UNIVERSAL INC., AND IS PART OF THE FILM CREW AND IS WORKING 12 HOURS S
  HIFT. SUBJECT WAS TOLD THAT HE CAN NOT WORK OFF THE BOOKS AND HE MUST WORKING D
  URING HIS CURFEW HOURS OR BE PUT ON THE BOOKS.
  SUBJECT STATE THAT HIS GIRLFRIEND--------■IS HAVING A BABY AND SHE'S D
  UE ON 6-20-17 AND THEY ARE PLANING A BABY SHOWER ON 5-20-17 AND HE WOULD LIKE T
  O BE ABLE TO ATTEND. SUBJECT WAS TOLD TO BRING IN THE INVITE ON THE NEXT REPORT
   DATE.               .              AND SHE ALSO LIVING IN A SHELTER~
  SUBJECT IS GETTING FOOD STAMPS IN THE AMOUNT OF $197 AND IS LIVING IN THE SHELT
  ER. WEN
  WENT OVER ALL SPECIAL CONDITION, CURFEW-9PM TO 7AM SEVEN DAYS AWEEK;
  SUBJECT WAS GIVEN FORM TO PAV HIS SUPERVION FEE AND THE GRIEVANCE WAS GIVEN.
  SUBJECT STATE THAT ALL MANDATED PROGRAM WERE COMPLETED •
. SUBJECT WILL BRING IN PAY STUB, PROOF HE PAID HIS FEE AND SHOWER INVITE.
  NRD-5-15-17
  SPO REVIEW: 06/29/2017

ENTERED BY: BRYANT,BRENDA
AREA: QUEENS III     SPO NAME: BRYANT,BRENDA       PO NAME: WALLACE,MARGARET
03/22/2017 11:40AM CASE CONFERENCE
  CC W/ P.O WALLACE. RECENTLY RECEIVED TRANSFER. EFFECTIVE TRANSFER DATE IS 4-1
0-17 ..
SPO REVIEW: 03/25/2017
 --------•N-------------------------•-••••••••••••••••••••••••--••-•••••••••••••••
Case 1:22-cr-00106-LDH
 CMSCHRON• • •        NEW Document 361-4
                          YORK STATE       Filed 06/07/24
                                     - Daces                   Page DATE:
                                                                    10 of 33 PageID #:
                                                                           11/04/2022
                                      3691
                       COMMUNITY SUPERVISION
                                                     * * *
                                                                    PAGE:        9
                            PAROLEE CHRONO REPORT
                      FROM 01/01/1999 THRU 11/04/2022

 NAME: GOULBOURNE,JONATHAN                                  AREA: BROOKLYN III
NYSID:                                                  SPO NAME: TAYLOR,PAUL
  DIN:                                                   PO NAME: MELHADO,GODFREY

-D~A~T-E_ _ _ TI ME     TYPE                        ACTIVITY          LOCATION

ENTERED BY: JONES,EBONY N
AREA: BROOKLYN IV    SPO NAME: ADAMS,CATHERINE     PO NAME: JONES,JASON
03/17/2017 12:11PM TELEPHONE TO PAROLEE
PO CONTACTED P AND INFORMED HIM THAT HE HAS BEEN TRANSFERRED TO THE QUEENS AREA
OFFICE. PO PROVIDED P WITH VERBAL INSTRUCTIONS TO REPORT AND TEXTED HIS CELL PH
ONE WITH HIS NEW REPORTING INSTRUCTIONS ALONG WITH HIS NEW PO/SPO NAMES AND OFF
ICE TELEPHONE NUMBER AND ADDRESS. P TEXTED AND CALLED PO BACK ACKNOWLEDGING THA
THE RECIEVED THE REPORTING INSTRUCTIONS.
SPO REVIEW: NONE

ENTERED BY: ADAMS,CATHERINE
AREA: BROOKLYN IV    SPO NAME: ADAMS,CATHERINE           PO NAME: JONES,JASON
REPORT TAKEN BY: ADAMS,CATHERINE
03/16/2017 11:17AM LETTER TO OTHER
2ND REQUEST REMITTED
SPO REVIEW: 03/16/2017

ENTERED BY: ADAMS,CATHERINE
AREA: BROOKLYN IV    SPO NAME: ADAMS,CATHERINE     PO NAME: JONES,JASON
REPORT TAKEN BY: ADAMS,CATHERINE
03/16/2017 11:16AM TRANSFER SUMMARY
NO ARREST OR EARLY DISCHARGE CONSIDERATION, HVP 2/2017, 2/2017 NEG TEST, PHOTO
TAKEN AND IN PROGRAM
SPO REVIEW: 03/16/2017

ENTERED BY: ADAMS,CATHERINE
AREA: BROOKLYN IV    SPO NAME: ADAMS,CATHERINE           PO NAME: JONES,JASON
REPORT TAKEN BY: ADAMS,CATHERINE
03/08/2017 06:56AM OTHER WORK
CONTACT ADDRESS: 15 2ND AVE., BKLYN
UPDATED Fl4 FOR PO JONES
SPO REVIEW: 03/08/2017

ENTERED BY: JONES,JASON H
AREA: BROOKLYN IV     SPO NAME: ADAMS,CATHERINE     PO NAME: JONES,JASON
02/18/2017 08:40AM HOME VISIT W/PAROLEE
CONTACT ADDRESS: 95-65,JAMAICA,11432
                    HOME VISIT POSITIVE CONDUCTED ON 2/18/17 TO NEW CASE ADDRESS
 95-65 TUCKERTON STREET, THE SUBJECT WAS PRESENT IN ROOM 504 NO ISSUES TO REPOR
T.
SPO REVIEW: NONE
--------------------------------------------------------------------------------
ENTERED BY: ADAMS,CATHERINE
AREA: BROOKLYN IV    SPO NAME: ADAMS,CATHERINE     PO NAME: JONES,JASON
REPORT TAKEN BY: ADAMS,CATHERINE
02/11/2017 10:19AM CASE CONFERENCE                              AREA OFFICE
CONTACT ADDRESS: 15 2ND AVE., BKLYN
CONFERENCE DETAIL: UUPDATE Fl7 MOVED TO QNS THEN PREP FOR TRANSFER
NEEDS DRUG TEST

ACTION PLAN:NO ARREST, PHOTO TAKEN, NO EARLY RELEASES, AND UPDATE ANGER MGMT PR
OGRAM WITH NETWORK
SPO REVIEW: 02/13/2017
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Case 1:22-cr-00106-LDHNEW Document
 CMSCHRON• • •
                                    361-4 Filed 06/07/24
                           YORK STATE - DOCCS
                                                               Page 11 of 33 PageID #:
                                                    * * *           DATE: 11/04/2022
                                       3692
                       COMMUNITY SUPERVISION                        PAGE:    10
                            PAROLEE CHRONO REPORT
                      FROM 01/01/1999 THRU 11/04/2022

 NAME: GOULBOURNE,JONATHAN                                  AREA: BROOKLYN III
NYSID:                                                  SPO NAME: TAYLOR,PAUL
  DIN:                                                   PO NAME: MELHADO,GODFREY

~D~A~T~E_ _ _ TI ME     TYPE                        ACTIVITY          LOCATION

ENTERED BY: JONES,JASON H
AREA: BROOKLYN IV     SP □ NAME: ADAMS,CATHERINE      PO NAME: JONES,JASON
02/07/2017 10:00AM OFFICE REPORT W/PAROLEE       GROUP SESSION     AREA OFFICE
                                                 REVIEWED CONDITIONS
                                                 CURFEW DISCUSSED
                                                 URINE/DRUG NEGATIVE
                                                 FEES DISCUSSED
                  THE SUBJECT REPORTED TO GROUP REPORTING AT 210 JORALEMON STREE
T 3RD FLOOR ON 2/07/17. THE SUBJECT DENIES ANY L/E CONTACT AND STATES HIS ADDRE
SS REMAINS THE SAME AND HE'S GAINFULLY EMPLOYED VERIFIED BY RECENT PAYSTUB AND
HIS DRUG TEST ON 2/07/17 REVALED NEGATIVE RESULTS. THE SUBJECT SIGNED HIS SPEC!
AL CONDITIONS AND NRD 06/06/17.
SP □ REVIEW: NONE


ENTERED BY: JONES,JASON H
AREA: BROOKLYN IV    SP □ NAME: ADAMS,CATHERINE    PO NAME: JONES,JASON
02/02/2017 09:30AM TELEPHONE FROM PAROLEE
                     THE SUBJECT CALLED THE UNDERSIGNED OFFICER AND STATED HIS
NEW ADDRESS 95-65 TUCKERTON STREET, QUEENS NY LIBERTY AND STUPHIN BLVD.
SP □ REVIEW: NONE


ENTERED BY: JONES,JASON H
AREA: BROOKLYN IV     SP □ NAME: ADAMS,CATHERINE    PO NAME: JONES,JASON
12/18/2016 09:llAM HOME VISIT W/OTHER
CONTACT ADDRESS: 1322 BEDFORD AVE,BROOKLYN,112162926
                  HOME VISIT OTHER WITH INTAKE WORKER AT 1322 BEDFORD ATLANTIC M
ENS SHELTER. AS PER INTAKE WORKER A PRINT OUT SHOWS THE SUBJECT NEW ADDRESS 501
 NEW LOTS AVENUE.LINDEN MEN'S SHELTER.
SPO REVIEW: NONE

ENTERED BY: ADAMS,CATHERINE
AREA: BROOKLYN IV    SP □ NAME: ADAMS,CATHERINE          PO NAME: JONES,JASON
REPORT TAKEN BY: ADAMS,CATHERINE
12/12/2016 08:32AM CASE CONFERENCE                                    AREA OFFICE
CONTACT ADDRESS: 15 2ND AVE., BKLYN
CONFERENCE DETAIL:
UPDATE PROGRAM PARTICIPATION

ACTION PLAN:
SP □ REVIEW: 12/12/2016


ENTERED BY: JONES,JASON H
AREA: BROOKLYN IV     SPO NAME: ADAMS,CATHERINE      PO NAME: JONES,JASON
10/11/2016 10:00AM OFFICE REPORT W/PAROLEE      GROUP SESSION     AREA OFFICE
                                                REVIEWED CONDITIONS
                                                CURFEW DISCUSSED
                                                URINE/DRUG NEGATIVE
                  THE SUBJECT REPORTED TO GROUP REPORTING AT 210 JORALEMON STREE
T 3RD FLOOR ON 10/11/16. THE SUBJECT DENIES ANY L/E CONTACT AND HE SIGNED HISS
PECIAL CONDITIONS SHEET. THE SUBJECT DENIES ANY CHANGES TD CASE ADDRESS AND HOM
E PHONE SERVICE AT THIS TIME. THE SUBJECT NEXT REPORT DATE 02/07/17.
SPO REVIEW: 12/12/2016
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Case 1:22-cr-00106-LDHNEW Document  361-4 Filed 06/07/24    Page DATE:
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 CMSCHRON• • •             YORK STATE - DOCCS
                                       3693         • • •               11/04/2022
                       COMMUNITY SUPERVISION                     PAGE:    11
                         PAROLEE CHRONO REPORT
                   FROM 01/01/1999 THRU 11/04/2022

 NAME: GOULBOURNE,JONATHAN                               AREA: BROOKLYN III
NYSID:                                               SPO NAME: TAYLOR,PAUL
  DIN:                                                PO NAME: MELHADO,GODFREY

DATE        TIME     TYPE                        ACTIVITY          LOCATION

ENTERED BY: SUTHERLAND,CARLA H
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO         PO NAME: SUTHERLAND,CARLA
09/13/2016 11:20AM OFFICE REPORT W/PAROLEE
STATES SAME RESIDENCE BEDFORD ATLANTIC BED# 2032, STATES NO POLICE CONTACT,
DENIES DRUG USE, STATES WENT ON JOB INTERVIEW, SUBJECT GIVEN TRANSFER INFO TO
REPORT TO BROOKLYN 4 ON 10-11-16 AT 9:30AM AT 210 JORRALEMON ST, BROOKLYN, NY
SUBJECT STATED THAT HE UNDERSTANDS
SPO REVIEW: NONE

ENTERED BY: SUTHERLAND,CARLA H
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO         PO NAME: SUTHERLAND,CARLA
09/06/2016 11:25AM OFFICE REPORT W/PAROLEE
STATES SAME RESIDENCE BEDFORD ATLANTIC BED# 2032 STATES NO POLICE CONTACT
DENIES DRUG USE, STATES THAT HE SPOKE TO CASEWORKER AT THE SHELTER RE: LINKS
PROGRAM, SUBJECT STATES ATTENDING THE NETWORK PROGRAM, SUBJECT DIRECTED TO
REPORT ON 9-13-16 AT 11AM
SPO REVIEW: NONE

ENTERED BY: SUTHERLAND,CARLA H
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO         PO NAME: SUTHERLAND,CARLA
09/06/2016 08:00AM LETTER FROM OTHER
RECIEVED TRANSFER ASSIGNMENT REPORT DATE SUBJECT TO REPORT TO PO. J. JONES
ON 10-11-16 AT 210 JORALEMON ST 3RD FL, BROOKLYN, NY AT 9:30AM
SPO REVIEW: NONE

ENTERED BY: ADAMS,CATHERINE
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO         PO NAME: SUTHERLAND,CARLA
09/05/2016 Ol:04PM OTHER WORK
SPO ADAMS:  SUBJECT CAN REPORT TO 210 JORALEMON ST., 3RD, FLOOR, BKLYN, NY ATE
ITHER 9:30 AM OR 5:30PM OCT 11, 2016
SPO REVIEW: NONE

ENTERED BY: SUTHERLAND,CARLA H
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO            PO NAME: SUTHERLAND,CARLA
09/01/2016 08:23AM LETTER TO OTHER
EMAIL SENT TO SPO ADAMS REQUESTING A REPORT DATE
SPO REVIEW: NONE

ENTERED BY: SUTHERLAND,CARLA H
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO         PO NAME: SUTHERLAND,CARLA
09/01/2016 08:00AM LETTER FROM OTHER
RECIEVED CASE TRANSFER ASSIGNMENT CASE TRANSFERRED TO BROOKLYN PO. J. JONES
SPO. ADAMS, WRITER TO CONTACT SPO ADAMS FOR REPORT DATE
SPO REVIEW: NONE
--------------------------------------------------------------------------------
ENTERED BY: SUTHERLAND,CARLA H
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO         PO NAME: SUTHERLAND,CARLA
08/30/2016 08:07PM OTHER WORK
TYPED UP TRANSFER FORM EMAILED TO BROOKLYN 4 TAG TEAM
SPO REVIEW: NONE
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Case 1:22-cr-00106-LDHNEW Document
 CMSCHRON* * *
                                    361-4
                           YORK STATE       Filed 06/07/24
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                                                                         DATE: 11/04/2022
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                       COMMUNITY SUPERVISION                             PAGE:    12
                                 PAROLEE CHRONO REPORT
                           FROM 01/01/1999 THRU 11/04/2022
 NAME: GOULBOURNE,JONATHAN                                       AREA: BROOKLYN III
NYSID:                                                       SPO NAME: TAYLOR,PAUL
  DIN:                                                        PO NAME: HELHADO,GODFREY
=D.. ,A"'-T=E_ _ _ TI HE     TYPE                       ACTIVITY           LOCATION
 ENTERED BY: DIAZ,PAUL J
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO          PO NAME: SUTHERLAND,CARLA
 08/30/2016 12:35PM OFFICE REPORT W/PAROLEE
 P REPORTED.SAHE ADDRESS,NO EHPLOYMENT.P STATED HE DID NOT GO TO CEO DUE TO HIS
-NOW HAVING ■--AND HE HAS BEEN DEALING WITH THAT.NO POLICE CONTACT,DENIE
S DRUG USAGE.NRD 9/6,
SPO REVIEW: NONE
 --·~------------------------------------------------------M---------------~-----
ENTERED BY: SUTHERLAND,CARLA H
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO         PO NAME: SUTHERLAND,CARLA
08/30/2016 08:00AH TRANSFER SUMMARY
SUBJECT RESIDING AT CASE ADDRESS, HVP DONE, SUBJECT ATENDING NETWORK DRUG PRDGR
AM, DRUG TEST NEGATIVE, CURFEW 9PM TO 7AM DAILY
SPO REVIEW: NONE

ENTERED BY: EDWARDS,PERRI A
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO         PO NAME: SUTHERLAND,CARLA
08/21/2016 05:58AM HOME VISIT W/PAROLEE       CURFEW
CONTACT ADDRESS: 1322 BEDFORD AVE,BROOKLYN,112162926
    P WAS OBSERVED AT BEDFORD/ATLANTIC SHELTER BED# 2032 ON 2 ND FLOOR.
    UNDER CARES# 450494.P DENIED ANY COMPLAINTS.
    VISIT ACCOPAINED BY PO JACKSON MAN 2.
SPO REVIEW: NONE

ENTERED BY: SUTHERLAND,CARLA H
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO         PO NAME: SUTHERLAND,CARLA
08/16/2016 11:40AM OFFICE REPORT W/PAROLEE
STATES NEW RESIDENCE BEDFORD ATLANTIC BED #32     STATES NO POLICE CONTACT
DENIES DRUG USE, STATES LOOKING FOR EMPLOYMENT, STATES WENT TO READY, WILLING
AND ABLE BUT WILL NOT BE DOING THERE PROGRAM, STATES ATTENDING THE NETWORK PROG
RAH, SUBJECT REFERRED TO CEO FOR EMPLOYMENT, SUBJECT DIRECTED TO REPORT ON
8-30-16 AT 11AM
SPO REVIEW: 08/22/2016

ENTERED BY: CAMACHO,ROSETTA
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO         PO NAME: SUTHERLAND,CARLA
08/12/2016 Ol:58PM RE-ENTRY SERVICES UNIT     RSU-MENTAL HEALT
THE CLIENT KEPT HIS INTAKE APPOINTMENT APPOINTMENT AT·NETWORK 555 BERGEN AVE 34
7-584-8601. R. CAMACHO SACl
SPO REVIEW: NONE

ENTERED BY: CAMACHO,ROSETTA
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO         PO NAME: SUTHERLAND,CARLA
08/08/2016 12:10PM RE-ENTRY SERVICES UNIT     RSU-MENTAL HEALT
THE CLIENT WAS SCREENED AND HAS AN APPOINTMENT 8/11/16 11:00AM AT NETWORK 347-5
84-8601. R. CAMACHO SACl
SPO REVIEW: NONE
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 CMSCHRDN• • •
                                    361-4 Filed 06/07/24
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                       COMMUNITY SUPERVISION                       PAGE:    13
                           PAROLEE CHRONO REPORT
                     FROM 01/01/1999 THRU 11/04/2022

  NAME: GOULBOURNE,JONATHAN                                AREA: BROOKLYN III
 NYSID:                                                SP □NAME: TAYLOR,PAUL
   DIN:                                                 PO NAME: MELHADD,GODFREY

=D~A~T=E_ _ _ TIME     TYPE                        ACTIVITY          LOCATION·

ENTERED BY: SUTHERLAND,CARLA H
AREA: MANHATTAN III SP □ NAME: ESCANO,DARIO        PO NAME: SUTHERLAND,CARLA
08/08/2016 10:35AM OFFICE REPORT W/PAROLEE    REVIEWED CONDITI
                                              CURFEW DISCUSSED
                                              PHOTO TAKEN
                                              URINE/DRUG NEGATIVE
STATES RESIDENCE AT BELLEVUE MENS SHELTER BED# 2-005, STATES NO POLICE CONTACT
DENIES DRUG USE, DISCUSSED AND REVIEWED SPECIAL CONDITION SUBJECT STATED THAT
HE UNDERSTOOD, SUBJECT GIVEN 9PM TO 7AM CURFEW, PHOTO TAKEN, ORAL DRUG TEST TAK
EN NEGATIVE, SUBJECT REFERRED TO ACCESS FOR ANGER MANAGEMENT PROGRAM, SUBJECT
GIVEN REFERRAL TO READY, WILLING AND ABLE EMPLOYMENT PROGRAM, SUBJECT DIRECTED
TO REPORT ON 8-16-16 AT 10AM
SP □ REVIEW: NONE


ENTERED BY: ORILUS,KENNETH
AREA: MANHATTAN III SP □ NAME: ESCANO,DARIO             PO NAME: SUTHERLAND,CARLA
REPORT TAKEN BY: ORILUS,KENNETH
08/04/2016 03:lOPM OFFICE REPORT W/PAROLEE        ARRIVAL
                                              REVIEWED CONDITIONS
                                              CURFEW DISCUSSED
                                              DUTY OFFICER
SUBJECT MADE OFFICE ARRIVAL REPORT WITHIN 24HRS OF HIS RELEASE. SUBJECT REVIEWE
D CONDITIONS OF RELEASE TO SUPERVISION AND REPORTED HE UNDERSTANDS CONDITIONS.
SUBJECT REVIEWED SPECIAL CONDITIONS AND SIGNED OFF ON CONDITIONS ACKNOWLEDGING
REVIEW/UNDERSTANDING. SUBJECT REPORTED NO PHONE# YET AND HE'S RESIDING AT BELL
EVUE MEN'S SHELTER, BUT HIS FATHER MAY HAVE A RESIDENCE FOR HIM. SUBJECT INSTRU
CTED UNTIL THAT TIME HE IS TO REMAIN AT BELLEVUE MEN'S SHELTER UNTIL PO OF RECD
RD GIVES APPROVAL TO CHANGE RESIDENCE AND SUBJECT SAID THAT WOULD BE FINE. SUBJ
ECT GIVEN MICROSOFT WORD PRINTOUT WITH PO OF RECORD CONTACT INFORMATION ALONG W
ITH NRD FOR 08/09/2016. PHOTO TO BE TAKEN DURING NRD.
SP □ REVIEW: 08/22/2016


ENTERED BY: MENDOZA,JEFFREY K
AREA: MANHATTAN III SP □ NAME: ESCANO,DARID        PO NAME: SUTHERLAND,CARLA
08/03/2016 10:00AM RELEASE INTERVIEW                            PRISON/JAIL
CONTACT ADDRESS: QUEENSBORO
INMATE INFORMED OF ALL CONDITIONS, SIGNED RELEASE PAPERS AND WAS INSTRUCTED TO
REPORT DIRECTLY TO PAROLE.
SP □ REVIEW: NONE


ENTERED BY: SCAGNELLI,RONALD A
AREA: MANHATTAN III   SP □ NAME: ESCANO,DARIO           PO NAME: SUTHERLAND,CARLA
08/01/2016 07:30AM FACILITY INTERVIEW                                PRISON/JAIL
CONTACT ADDRESS: QBCF
S.C. ENTERED INTO GES ON 8/1 BY KBS
SP □ REVIEW: NONE
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Case 1:22-cr-00106-LDH      Document 361-4   Filed 06/07/24   Page 15 of 33 PageID #:
 CMSCHRON• • •          NEW YORK STATE - DOCCS        * * *        DATE: 11/04/2022
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                         COMMUNITY SUPERVISION                     PAGE:    14
                         PAROLEE CHRONO REPORT
                   FROM 01/01/1999 THRU 11/04/2022

  NAME: GOULBOURNE,JONATHAN                               AREA: BROOKLYN III
 NYSID:                                               SPO NAME: TAYLOR,PAUL
   DIN:                                                PO NAME: MELHADO,GODFREY

DATE        TIME     TYPE                         ACTIVITY           LOCATION

ENTERED BY: SCAGNELLI,RONALD A
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO             PO NAME: SUTHERLAND,CARLA
07/28/2016 07:30AM FACILITY INTERVIEW                               PRISON/JAIL
CONTACT ADDRESS: QBCF
REPORT FAXED TO ALBANY BY KBS ON 7/28/16
SPO REVIEW: NONE
 --------------------------------------------------------------------------------
ENTERED BY: ESCANO,DARIO A
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO             PO NAME: SUTHERLAND,CARLA
06/20/2016 02:46PM CASE CONFERENCE
COMMUNITY PREP COMPLETED.
SPO REVIEW: 06/20/2016
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ENTERED BY: SUTHERLAND,CARLA H
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO         PO NAME: SUTHERLAND,CARLA
06/02/2016 06:22PM SUPERVISION PLAN
SUBJECT TO BE SUPERVISED AS PER COMPAS LEVEL, SUBJECT UNDOMICILED TO BE REFERRE
D TO BELLEVUE MENS SHELTER, SUBJECT WILL BE GIVEN 9PM TO 7AM CURFEW DAILY
SUBJECT WILL BE REFERRED TO CEO FOR EMPLOYMENT, SUBJECT TO BE DRUG TESTED
SPO REVIEW: NONE

ENTERED BY: SUTHERLAND,CARLA H
AREA: MANHATTAN III SPO NAME: ESCANO,DARIO          PO NAME: SUTHERLAND,CARLA
06/02/2016 06:25AM REPORTING INSTRUCTIONS
SUBJECT MUST REPORT WITHIN 24 HOURS TO THE MANHATTAN III AREA OFFICE
314 W 40TH ST, MANHATTAN, NY 10018        PHONE:(212) 239-6355
UPON ARRIVAL, PHOTOS WILL BE TAKEN, SPECIAL CONDITIONS IMPOSED AND
SUBSEQUENT REPORTING INSTRUCTIONS WILL BE GIVEN AT THAT TIME.
SPO REVIEW: NONE

ENTERED BY:
AREA: MANHATTAN III SPO NAME: AREA SUPERVISOR          PO NAME: AREA SUPERVISOR
05/25/2016 04:00AM COMPAS ASM'T COMPLETED
SCREENER: SCAGNELLI, RONALD
LOCATION: QUEENSBORO CF
SPO REVIEW: NONE

ENTERED BY: SCAGNELLI,RONALD A
AREA: QUEENS III      SPO NAME: AREA SUPERVISOR        PO NAME: AREA SUPERVISOR
05/20/2016 10:00AM FACILITY INTERVIEW                               PRISON/JAIL
CONTACT ADDRESS: QBCF
INTAKE NO CONCERNS AT THIS TIME
SPO REVIEW: NONE



                               •••END OF REPORT•**
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3010_P~SCS (Rev. 10/2012)                                                                     3697
                                                                                        STATE OF NEW YORK
                                                     DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION (DOCCS)
                                                          CERTIFICATE OF RELEASE TO POST-RELEASE SUPERVISION

                                                                        DETERMINATE SENTENCE -                 POST-RELEASE SUPERVISION


DETERMINATE SENTENCE:

                                                                                                                who was convicted of                C:t:"idi:., l:;,-OB...i..,   iiJ 1~i3nd sentenced in the co1,inty of
                                                                                                                                                    .:nu ( C)

                 0- G-0/
the term of      3-0-D:                 the maximum term of such sentence expires on the            6 r:.b   day of   1<F".'t~;:i;7!>'~,C.. r~ 'l        20-1.2, has agreed to abide by the conditions to which (he)


(she) has signed (his) (her) name below, and is hereby released by virtue of the authority conferred by New York State Law.


;_:;,;:; iJL.B~)W1.1iJE e          ,JOt.Jb-J.:"I~~dditionally subject to a period of              2.-S.-- nyears/months Post-Release Supervision, which will commence on the release date

of---~[~;~J~-,~1·4}~-~1~!~\_____ and (he ) (she) will be under the legal jlJrisdiction of the Department of Corrections and Community Supervision until the Post-Release Supervision


Maximum Expiration (PRSME) date of ~2~/~·~i~~·!~'-----~· 20                                ~~ 9                 tt&,S ;; .w~.i..D1.d5 'V Ui:i
                                                                                                                             0
                                                                                                                              100 2 30t1:t Street
Post-Release Supervision Period (years/months):                         -~2~--•~·;._-~~~•_______                                  York, .vrx 10010 21,;i-t10·~-.;;os:ii
                                                                                                                             tJs;t'!I'


Post-Release Supervision Maximum Expiration Date: _ _-_-:;_/_._4_-_/_i_S._'·____


I,    \~i{.HH.i-.i;>..}0:)iH~'i•; :;-    ;rn;\{ J'.,., •·,Vi'i Jl.~-J          , voluntarily accept Post-Release supervision. I fully understand that my person, residence and property are subject to search
anP :--riection. I understand that Post-Release Supervision if defined by these Conditions of Release and all other conditions that may be imposed upon me by the Board of Parole or its
re~        1tatives. I understand that my violation of these conditions mat result in the revocation of my release.



                                                                                              CONDITIONS OF RELEASE

                       1.     I will proceed directly to the area to which I have been released, and, within twenty-four hours of my release, make my arrival report to the
                              Community Supervision Office indicated below, unless other instructions are designated on my release agreement.




                       2.     I will make office and/or written reports as directed.
                       3,     I will not leave the State of New York or any other state to which I am released or transferred, or any area defined in writing by my Parole Officer
                              without permission.
                       4.     I will permit my Parole Officer to visit me at my residence and/or place of employment and l will per.mit the search and inspection of my person,
                              residence and property. I will discuss any proposed changes in my residence, employment or program status with my Parole Officer. I understand
                              that I have an immediate and-continuing duty to notify my Parole Officer of any changes in my residence, employment or program status when
                              circumstanceS-beyond my control make prior discussion impossible.
                       5.     1 will reply promptly, fully and truthfully to any inquiry of or communication by my Parole Officer or other representative of the Department
                              of Corrections and Community Supervision.
                       6.     I will notify my Parole Officer immediately any time I am in contact with or arrested by any law enforcement agency. I understand that I have a
                              continuing duty to notify my Parole Officer of such contact or arrest.
                       7.     I will not be in the company of or fraternize with any person I know to have a criminal record or whom I know to have been adjudicated a Youthful
                              Offender except for accidental encounters in public places, work, school or in any other instance with the permission of my Parole Officer.
                       8.     I will not behave in such a manner as to violate the provisions of any law to which I am subject which provide for a penalty of imprisonment, nor will
                              my behavior threaten the safety or well-being of myself or others.
                       9.     I will not own, posses, or purchase any shotgun, rifle or firearm of any type without the written permission of my Parole Officer. I will not own, posses
                              or purchase any deadly weapon as defined in the Penal Law or ally dangerous knife, dirk, razor, stiletto, or imitation pistol. In addition, I will not
                              own, posses or purchase any instrument readily capable of causing physical injury without a satisfactory explanation for_ ownership, possession or
                              purchase.
                       10.    In the event that I leave the jurisdiction of the State of New York, I hereby waive my right to resist extradition to the State of New York from any state
                              in the Union and from any territory or country outside the United States. This waiver shall be in the full force and effect until I am discharged from
                              Parole of Conditional Release. I fully understand that I have the right-under the Constitution of the United States and under law to contest an effort
                              to extradite me from another state and return me to New York, and I freely and knowingly waive this right,as a condition of my Parole or Conditional
                              Release.
                       11.    l will not use or possess any drug paraphernalia or use or possess any controlled substance without proper medical authorization.
                       12.    Special Conditions:




                       13.    I will fully comply with the instructions of my Parole Officer and obey such special additional written conditions as he or she, a Member of the Board
                              of Parole or an authorized representative of the Department of Corrections and Community Supervision may impose.

                       I hereby certify that I have read and that I understand the foregoing conditions of my release and that I have received a copy of the Certificate of Release
                         Case 1:22-cr-00106-LDH                         Document 361-4 Filed 06/07/24                                    Page 17 of 33 PageID #:
3Qi!:1CS (Rev. 9/2013)
     . -~    ,.. ,                                                                  3698
                                                                              STATE OF NEW YORK
                                                    DEPA_RTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION (DOCCS)
                                                      APPLICATION FOR CONDITIONAL RELEASE TO PAROLE SUPERVISION


                     SENTENCE:                      Q State                        D        Local                                                            DIN#




                                                                                          an? sentenced in the county of       0U E;Ei~'S

_ _ _ _ _ _ _ _ _ _ Court, Judge _M_-"_R_D_'-_i>J_ _ _ _ _ _ _ presiding, on the 17th day of ii.lOV!T;l@E.R"<                                                            ___
                                                                                                                                                                     ' 201,1         ,

                                                                    the maximum term of which expires on the         f~t.h

hereby apply for Conditional Releaeye. I understand that I will be in the legal custody of the Department of Corrections and Community Supervision until

                                                           , 2019          , and agree to abide by the conditions of my release with full ·knowledge that ~ilure to d(!) so may reisult in
                     \
my r&imprisonment by order of the Board of Parole pursuant to law.


                                                                                     CONDITIONS OF RELEASE


1.          I will proceed directly to the area to which I have been released and, within twenty-four hours of my release, make my arrival report to the Communicy'
            Supel'Vision Office, unless other instructions are designated on my release agreement.




 .lir--,~.
2t. ____ __,flill mak~ offic~•'and/or written reports as directed.
3.         I will not leave the State of New York or any other State to which I am released or transferred, or any area defined in writing by my Parole Officer without
           permissio,;,.
4.         I will perrrilt my Parole Officer to visit me at my residence and/or place of employment and I will permit the search and inspection 0f my person, rE;lSidenqe ijnd
           property. I will discuss any proposed changes in my residence, employment or program status with my Parole Officer. l understand that I have an immediate and
           continuing duty to notify my Parole Officer of any changes in my residence, employment or program status when circumstances beyond my control make prior
           discussion impossible.
5.         I will reply promptly, fully and truthfully to any inquiry of or communication by my Parole Officer or other representative of the Departm~nt of Corrections arid
           Community Supervision.
6.         I will notify my Parole Officer immediately any time I am in contact with or arrested by any law enforcement agency. I understand that I have a continuing duty
           to notify_ my· Parole Officer of such contact or arrest.
7.         l will not be in the company of or fraternize with any person I know to have a criminal record or whom I know to have been adjudicated a Youthful Offen~ere¥cept .-.
           for accidental encounters in public places, work, school or in any other instance with the permission of my Parole Officer.                                      ·._ . · .· . _·_:· /-:'
8.         I will not behave in _such ~ manner as to violate the provisions of any law to which I am subject which provide for a penalty of imprisonment, nor will my b6haVi~f-.:~/;
           threaten the safety or well-being of myself or others.
9.         I will not own, posses, or purchase any shotgun, rifle or firearm of any type without the written permission of my Parole Officer. I will not own, posses or purcha~e
           any deadly weapon as defined in the Penal Law or any dangerous knife, dirk, razor, stiletto, or imitatiori pistol. In addition, I will not own, posSE;!$ or purqhas~
 ,.,,..----,~riY instrument readily capable of causing physical injury without a satisfactory explanation for ownership, possession or purchase.                                            ..y
i_          ) the event that_ I leave the jurisdiction of the State of New York, I hereby waive my right to resist extradition to the State of New York from any sle:!,te in~the Union
fl,...._.-
           and from any territory or country outside the United States. This waiver shall be in the full force and effect until I am disGharged frqm Parole of Corn_ditiQnal
           Release. I fully understand that I have the right under the Constitution of the United States and under law to contest an effort to extradite me frolTl.-~nqtJ1er $tat~
           and returri me to New York, and I freely and knowingly waive this right as a condition of my Parole or Conditional Release.
11. I will not use or possess any drug paraphernalia or use or possess any controll6d substance without proper medical i;iuthorization.
12. Special Conditions:




13.         I will fully comply with the instructions of my Parole Officer and obey such special additional written conditions af, he, a·Men,ber of the Boarc;t of.1?1;1.fOI~ qr an
            authorized representative of the Department of Corrections and Community Supervision may impose.


D                    Local Sentence: I also understand and agree that if I am returned to a correctional facility for violation of any of the above conditions:; the time SPE;lnt under
                     Conditional Release will not be credited against the term of my sentence.


D                    State Sentence: l understand and agree that if I am returned to an institution under the jurisdiction of the Department of Corrections and Community
                     SuperviSion for violation of any of the above conditions, that the good behaVlor time earned by me prior to the date of my Con4itlon~j ReleF1s:e cannc,J· b$
                     used as a basis for requesting any subsequent release. I further understand that if I am so returned I may, however, subsequently re~ive time allowanGEt
                     against the remaining portion of my maximum or aggregate maximum term not to exceed in the aggregate of one-third of such portiQn providE;ld suc;h
                     remaining portion of my maximum or aggregate maximum-term is more than one year and that I shall not again earn any good behavior time ~!;Jainst the
                     remaining portion of my sentence if such remaining portion of my sentence is one year or leSs.

                     I certify that I have read and that I understand the foregoing and have received a copy of.this application.
                                  ?                                        '    ,..-
            Signed this
                                   ·i._.
                                ...,_.)    day of
                                                    !lt   :ll<"'f     f~,L.
                                                    ~,,,.,.'ljVJJ,.,,~ _J7   , /I
                                                                             20; t.,o?.                                        ,·"                                                 ,,_$,?
                                           ,,,                                                                               ,·1/       ✓                                     ;·
            Applicant: :,,,.,. ,.4!',:>lt-il&'i,.-; _ .:,;.'--<f~,,..--;
                                . ·-· '
                                                                                                         Witness:       A!.:.:~,----;.P:---:~ Pt --------/;':/· c;;--~-~--
                                                                                                                    -/-",'"··="",,c;"-',_ ,,,S",S-..~/-,-,~~.,.,--=.,_,,_.~.+-----=-=.
                                 ,./                          COPY TO COMMUNITY SUPERVISION FI.ECD ~l;;"SFFICE
                            /
Case 1:22-cr-00106-LDH         Document 361-4 Filed 06/07/24             Page 18 of 33 PageID #:
                                           3699




                          Corrections and
                          Community Supervision
   ANDREW M. CUOMO                            ANTHONY J. ANNUCCI
   Governor                                   Acting Commissione.r



            CERTIFICATE OF RELEASE TO PAROLE SUPERVISION (GREEN FORM 3010)
    APPLICATION FOR CONDITIONAL RELEASE TO PAROLE SUPERVISION (PINK FORM 3041)
     CERTIFICATE OF RELEASE TO POST-RELEASE SUPERVISION (PUMPKIN FORM 3010PRS)
                       DETERMINATE SENTENCE POST RELEASE SUPERVISION



                          CONTINUATION SHEET OF CONDITIONS: 1-12)



 NAME: GOULBOURNE, JONATHAN                    DIN:                   NYSID:

 I will seek, obtain and maintain employment and/or an academic/vocational program.
 I will submit to substance abuse testing as directed by the Parole Officer.
 I will not consume alcoholic beverages.
 I will not frequent any establishment where alcohol is sold or served as its main business
 without the permission of the Parole Officer.
 I will abide by a curfew established by the Parole Officer.
 I will support my dependent children.
 I will participate in anti-aggression/anti-violence counseling as directed by the Parole Officer.
 I will comply with geographic restrictions as per Parole Officer.



 FOR EMERGENCIES OCCURRING AFTER OFFICE HOURS AND ON WEEKENDS; CALL 212 239 6159
 COMMAND CENTER STAFF WILL ASSIST YOU.


 I HEREBY CERTIFY THAT I HAVE READ AND THAT I UNDERSTAND THE FOREGOING CONDITIONS OF MY
 RELEASE AND THAT I HAVE RECEIVED A COPY OF THIS APPLICATION AND/OR CERTIFICATE OF RELEASE.



 SIGNED ON THE     3           DATE OF   /lttjwl'-1-:               ,2016
 OFFEN DER:.(   ~ ~.,.,,___,.___,.
 COPY TO.: OFFENDER; COMMUNITY SUPERVISION FIEL /AREA OFFICE
 FACILITY COMMUNITY SUPERVISIOI\! OFFICE/INSTITUTIONAL
Case 1:22-cr-00106-LDH         Document 361-4 Filed 06/07/24             Page 19 of 33 PageID #:
                                           3700




                          Corrections a,nd
                          Corrtmunity !;upervision
   ANDREW M. CUOMO                            ANTHONY J. ANNUCCI
   Governor                                   Acting Commissioner



            CERTIFICATE OF RELEASE TO PAROLE SUPERVISION (GREEN FORM 3010)
    APPLICATION FOR CONDITIONAL RELEASE TO PAROLE SUPERVISION (PINK FORM 3041)
     CERTIFICATE OF RELEASE TO POST-RELEASE SUPERVISION (PUMPKIN FORM 3010PRS)
                      DETERMINATE SENTENCE POST RELEASE SUPERVISION



                          CONTINUATION SHEET OF CONDITIONS: 1-12)



 NAME: GOULBOURNE, JONATHAN                    DIN:                    NYSID:

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 I will not. consume alcoholic beverages.
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 without the permission of the Parole Officer.
 I will abide by a curfew established by the Parole Officer.
 I will support my dependent children.
 I will participate in anti-aggression/anti-violence counseling as directed by the Parole Officer.
 I will comply with geographic restrictions as per Parole Officer.



 FOR EMERGENCIES OCCURRING AFTER OFFICE HOURS AND ON WEEKENDS; CALL 212 239 6159
 COMMAND CENTER STAFF WILL ASSIST YOU.

 I HEREBY CERTIFY THAT I HAVE READ AND THAT I UNDERSTAND THE FOREGOING CONDITIONS OF MY
 RELEASE AND THATI HAVE RECEIVED A COPY OF THIS APPLICATION AND/OR CERTIFICATE OF RELEASE.



 SIGNED ON THE     3         .   DATE OF   fluJ/,,l \±             , 2016

 OFFENDER:~«~                                SORC/ORC:   ~~
 COPY TO: OFFENDER; COMMUNITY SUPERVISION FIEL~OFFlCE
 FACILITY COMMUNITY SUPERVISION OFFICE/INSTITUTIONAL
            Case 1:22-cr-00106-LDH               Document 361-4 Filed 06/07/24                      Page 20 of 33 PageID #:
                                                             3701
                        Co,rrections and.
                        Comn1urhity Supervision
 ANDREW M. CUOMO                             ANTHONY J. ANNUCCI
 Governor                                    Acting Commissioner




        GOULBOURNE, JONATI:IAN
  _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , have received and reviewed the 0epartment of Motor
 Vehicles documents retrieval procedure of a Non-Driver Photo ID with my Offender Rehabilitation
 Coordinatorrrransitional Services Coordinator.




Inmate Name:        <t= )oao f/,,,•ftJ Ciouf (?Q,2,t:,1 <.
DIN#:
  r                                                                                                                           ,



ORC/Designee Name:              ~/ ,;;;{;z , ? , ~
  ...            ~/
Date: 11 5' IL-/.=b.,____




         Tl1e Harrim_qn State Campus. 1220Washington Avenue, Albany, NY 12226-2050 ! (518) 457-8126 I www.doccs.ny.gov
           Case 1:22-cr-00106-LDH        Document 361-4 Filed 06/07/24 Page 21 of 33 PageID #:
                                                  State 3702
   Form 6001CS (Rev. 11/2012)
                                                        of New York
                                Department of Corrections and Community Supervision

                                SUPERVISION FEE ACKNOWLEDGMENT FORM


                                                                      DIN#:          NYSID #:             '




                                                1

   Date of Interview: _ __,,f,.!..1.+-/...,/3:::.·,_/!..._/__,,t"'~'-------------


 .• ce•:::-.:2~ I understand I am required under NYS Correction Law §201 (9)(a) to pay a monthly supervision
_.•fee of $30 while under community supervision.

               I understand that every month my Parole Officer will review my income/financial situation"to
/ ·determine if any fee adjustment is warranted. I understand that I must provide my Parole Officer with
  / ..,ny and all financial information or documentation he or she may request to make this determinati6n.
 · .. , I believe I am not able to pay the required monthly supervision fee, I understand ii shall be \TIY
    responsibility to pay such fee in order to obtain any fee adjustment consideration by my Parole Officer.

  ,sc;;,:.,. I understand that each supervision fee payment shall be payable to the New York State
_;. Department of Corrections and Community Supervision.

•·.c:::i::<;~ I understand that my early discharge from community supervision (Three Year Discharge,
  "Executive Law §259-j or Merit Termination of Sentence, Correction Law §205) and any consideration
    by the Board of Parole for a Certificate of Relief from Disabilities or a Certificate of Good Conduct can
    be denied if I do not make a good faith effort to pay the supervision fee.

 ,,:2".:::i:":J:> I understand that my failure to pay the required supervision fee may subject me to debt collection
    proceedings in which the Department of Corrections and Community Supervision or State of New York
     till seek a judgment against me in a court of competent jurisdiction for the entire amount of unpaid
  -fees, and thereafter, will utilize whatever remedy the law allows for, e.g., wage garnishment, to collect
    that amount.




  DISTRIBUTION:

             WHITE - RELEASEE; YELLOW -AREA OFFICE FILE; PINK - COMMUNITY SUPERVISION CENTRAL OFFICE FILE
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                                                        3703
  ·                                                 ·      STATE OF NEW YORK ·                        ·
  DEPARTMENT OF CORRECTIONS AND COMMUNITY SUPERVISION
                                       ADIRONDACK CORRECTIONAL FACILITY
                                           P.O. Box 11p Ray Brook, New York 12977

                                 Name:
                            DIN/ NYSID: -=:.
                                                        tJ.()                  iYVL            dY)OJJ
                                                                                          !!..i~::!:....!!~.!.c......._-----
               Board Date:
  File rec'd/ reviewed c,>n: --._;-;a\-t::\b-¼H-W-"'""".a.....L..----------
                                              By: ---+.µ..Llol>L-"'='4-'--':...:_!_.... _ _ _ _ _ _ _ _ _ __

                                                             File Review Checklist
                                                                                                                               Yes           No
  5 months or less to PE Date (Y=Notily APA)                                                                                                 ,/
  4 months or less to CR Date (Y=Notify APA_& Type Pink Application for C.R.)                                                                1/
                                                                                                                                             .
  Are the following items in the case record? (N=Notify APA)
         •       RAP Sheet                                                                                                      .   ./
         •       Sentencing Minutes (For each Indictment & for Indeterminate Sentences Only)
                 N=Check FPMS 01 & Notily S.O.R.C.                           .    .

         •       Sentence & Commitment (For each Indictment)                                                                        V"
       ' •       Jail Time Certificate                                                                                              1/
         •     PSI (For each Indictment)                                                                  .                         1/
      Do all the documents listed above match ilach other and the Blotter?

          ..
      To print an update Blotter: {F451, 20, DIN, 81,88,!;;nter)
                     County of Conviction               ~-(..f'J J ......::>
                                                                                                                                                  .
             •       Instant Offense                \'M.11/~
             •       Tenn being served I Sentence {0°0-013-0-0) () -o .....--..           \ti.. ,nd'I \.D) 'l-u ~o '1(2..'::,
                                                                                  •·                                                                  "
            Indictment #{s) / Court Case #{s)
             •                                                                   7u'--l 2.: ,,_, ·
      Were Recommendation Letters Sent? (For lnd!l:!81lllinate Sentences Only) ~ Send ASAP
      OOP Issued? {See Sent & Comm)          I Y l(N J              II Yes, OOP in file?  I
                                                                                                                                     .

      . If no OOP in file, chec:k Guidance Folder,
        If no OOP in Guidance Folder, ask I.R.C1 for a copy.
        If no copy in· Inmate Records, l)Otily O.R.C. to request one from the court.                                 I     •
                                                                                                                 't. I    LLL..-1             IV
       OLD DIN# indicated? {Check FPM_S 15 / F(TS) (Y Notify APA).                                                    ,
                                                                                                                           -
        CHRONOLOGICAL LOG: ~ • ~ " 1 >                                            J'I _
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        Date                I             f n
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                                           3704

    NYSDOCCS                                    Name:

                                                DIN#: - - - - - - - - - - - - ~ -
                                Chronological Entries

    Date      C.F.        Notation
    12/3/14   Downstate   Received at Downstate Reception Facility 12/2/14 KL




-




-




                                         .
     Case 1:22-cr-00106-LDH   Document 361-4 Filed 06/07/24 Page 24 of 33 PageID #:
           STATE OF NEW YORK DEPARTMENT OF3705
                                            CORRECTIONS AND COMMUNITY SUPERVISION
                                              PAROLE BOARD REPORT



                                             CORRECTIONAL FACILITY

                                PAROLE BOARD TYPE/ DATE:                 CRC JULY 2016

NAME: Goulbourne Jonathan            RECEIVED DATE: 12/212014 CMC: A~                BO

DOB: 7119/78                         DIN:                     NYSID:                        FBI:

PEDATE: NIA                          CR DATE: 814116                   MEDATE: 216117

PRS: 2.6 years PV NT: YesO No~                  TIME ON PAROLE: NIA             TIME SERVED: NIA months

CRIMES OF COMMITMENT, FELONY CLASSES, SENTENCE, PLEA OR VERDICT
   Criminal Possession of a Weapon 2nd Degree Oto 3.6 years

EEC: ISSUED D         DENIED O       NON-CERTIFIABLE 0                 INELIGIBLE I NIA 0

OFFICIAL STATEMENTS: JUDGE - Yes O No[81 DA- Yes0 No[81                      DEF ATTY - Yes □ Noi:81

SENTENCING MINUTES: Yesi:81 No□                     IF NO, DATE(S) REQUESTED:

CO-DEFENDANT: NAME/NYSID                    STATUS
   NONE

DETAILED PRESENT OFFENSE: IN THE LO. 819113, INMATE WAS IN POSSESSION OF TWO [2] FIREARMS.

OFFENDER STATEMENT: Inmate admitted guilt in the offense


CRIMINAL HISTORY: Warrant: YesO No~                 ICE: Yes0 No~
       IF YES, EXPLAIN:


NEW YORK STATE - CLICK HERE

JUVENILE: YesO No~           OUT OF STATE: YesO No~             FEDERAL: YesO No~
IF YES, EXPLAIN:

CERTIFICATE OF RELIEF: Eligible O            Ineligible~      Youthful Offender 0

INTERPRETER NEEDED: Yes□             No~ IF YES, LANGUAGE:

PROPOSED RESIDENCES:
       PRIMARY: . Bellvue Mens Shelter                        ALTERNATE:       NIA
                  400 east 30th street
                  NYC. NY 10016




PROPOSED EMPLOYMENT:              Pending




                                       1




                                             7/28116
                                             Date:
                                                                  "4·rop l< ),·1,/Y) ~
                                                                         Down List, SORC
                                                                                                       7128116
                                                                                                       Date:
       Case 1:22-cr-00106-LDH           Document 361-4 Filed 06/07/24 Page 25 of 33 PageID #:
                                       CONFIDENTIAL3706
                                                     REPORT: CRC JULY 2016



OFFENDER NAME: Goulbourne Jonathan              DIN:            NYSID:



Confidential File: YesO No~

Supervision and Investigation Concerns:       None

Active Orders of Protection:          Yes~ NoO
       If Yes, Dates of OOP:      Kissy Goulbourne, Expiration Dates: Non
       Name( s)/Relationship( s):   ORDER OF PROTECTION, NON-EXPIRING, ISSUED 10/10/07, NYC PD

Past Behaviors:

History of Couuuunity Supervision: None

Intelligence Information: Gang affiliation/ tattoos: None

Sex Offender History: YesO No~                  If Yes, Risk Level:

Mental Health: Level 6          OMH Evaluations (dates/ diagnosis): 6

Medical Concerns: YesO No~              Level 3
      If Yes, Explain:

Family Information: None

Domestic Violence History: None

Active Orders of Protection: YesO       No~
        If Yes, Dates of OOP:        , Expiration Dates:
        Name( s)/Relationship( s): )

Financial Information: None

Victim Information: Check all applicable.
       STRANGER: Adult ~              65 and Over 0             Under 18 0     Under 13 D

        NON-STRANGER: Adult~                      65 andOverO            Under 18 D   Under 13 0

        NON-STRANGER'S VICTIM'S RELATIONSHIP TO OFFENDER:
             Grandparent D        Parent D        Spouse O        Child 0                   Sibling □
             Aunt D        Uncle D       Cousin D Girlfriend/Boyfriend D

        NON-STRANGER OTHER: D (This could mean a person's neighbor/employer/friend.)

        LAW ENFORCEMENT: ~

        MULTIPLE VICTIMS: 0

        UNKNOWN: 0

Suuuuary/Evaluation NIA
                   Case 1:22-cr-00106-LDH                        Document 361-4 Filed 06/07/24                                                         Page 26 of 33 PageID #:
                                                                             3707
                                                                                                                                                                                      Page 1 of3

                                                          ORC REC'oMMENDED SPECIAL CONDITIONS


      INMATE NAME : Goulbourne .Jonathan                                                                         DIN:                                                 NYSID:
          -




      1:8] SCl - I will seek, obtain, and maintain employment and/or an academic/vocational program.
      1:8] SC2- I will submit to Substance Abuse Testing, as directed by the PAROLE OFFICER.
      □ _SC3 - I will participate in a Substance Abuse Treatment program, as directed by the PAROLE OFFICER.
      □ SC4 - I will participate in an Alcohol Abuse Treatment program, as directed by the PAROLE OFFICER.
      1:8] SCS - I will NOT consume alcoholic beverages.
      1:8] SC6 - I will NOT frequent any establishment where alcohol is sold or served as its main business without the permission of the
          PAROLE OFFICER.
      □   SC7 - I will NOT operate any motor vehicle, apply for, renew, or possess any drivers' license, without the written permission of
          the PAROLE OFFICER.
      1:8] ~C8- I will abide by a curfew established by the PAROLE OFFICER.
      □ ~C9 - I will support my dependent children.
      1:8] SCIO - I will participate in anti-aggression/anti-violence counseling, as directed by the PA-ROLE OFFWER.,
      □ SCll - I will cooperate with a menta: health evaluation referral, and follow up treatment as directed bi{the PAROLE OFFICER.
      □ SC12- I will participate in Sex Offender Counseling/Treatment, as directed by the PAROLE OFFICER.
      □ SC13 - I will have NO contact with any person under the age of eighteen, without written'permission of (he PAROLE OFFICER.
      □ SC14 - I will comply with all case specific sex';otf('ndtr .con0itions·to:bejmposec;! by_ the,f/AROLE OFFICER.
      □ SCIS - I will NOT associate in any way or communicate by any means with victim(s) _____ without the permission of the
              PAROLE OFFICER.

      □ SCl6 - I will NOT associate in any way or communicate by any means with assaciate(s) _ _~__ •withoul the permission of
              the PAROLE OFFICER.

      □   Set 7 - I will NOT associate in any way or communicate by any m,ean) with other(s) _ _ withoul the permission of the
          PAROLE OFFICER.           ..           .- .                 - . ''        I         .- - ·1.



      □ ~C18 - I will coopi:rale with all medical referrals and treatment recornmend:i,tlons.
      □ $C19 - I will partic'i'pale in Domestic Violence counseling, as directed by the PAROLE OFFICER.
      □ $c20 - I will comp~_'y with all court orders including those ordering fines, s·Jrcharges, and/o/ i'Cstitll.tion. ·
      =i $C21 - I will NOT be a member of any gang or associate with any known gang member or attend any gang activity or function.
              l will not wear, dispJay, possess, distribute, or use any gang insignia or matei:ial.
      □       SC22-I will NOT act in any fiduciary capacity without the permission of the PAROLE OFFICER.
      □       ~C23 - I will NOT 'have a checking, savings, debit, or credit card account, without the permission of the PAROLE OFFICER.
      □       SC24- l will NOT _be involved in any gambling or gambling related activity without the permission of the PAROLE OFFICER.
      □       ?C25 - I will participate in a D.W.I. Victim Impact Panel as directed by the PAROLE OFFICER.
      □ ~C26 - I will comply with all Orders of Protections.
      1:8] SC27-0THER:
                                                                                                            ·L    :                       :;·                .,   -

      □ SC28 - I will abide hy the mar.datory condi,tion imposed bv the,Sexual Assault Reform .Act,P,hapier I of the Laws of 2000.
      □ &C29- I will propose a residence lo be appro\ed'byth~ NYS Department 9fCorrec,tions,.~nd Communitr Supervision and will
              qssist the Department in any efforts _it may ma~~,:~1~._.rt!r,,rb~ti.~lr t,c:\.~~X~:l_.qp_A~1}:PPr_pi"i_~~ 1_f.e~ipep~e;--.f-                               . ,·
      □ SC30 - I will reside only in the residence approved by,.the,NYS Department of Corrections and Community Supervision.
      □ ~C31A-I will proceed directly to the I.C.E. Warrant and if released prior to the maximum expiration date ofmy sentence or if
              scJeased prior to the_post-rc.Jease supervision maximum ~_xpir~tion (P.R/i...:11"·E) d,at~, I, will within-24 f:toµrs of my release, report
r--           to the area office as:noted on my Certificate of Release. If deported, I understand that I carlnot re-enter t~e United States unless
              ~11y re-entry is authorized under 8 U.S.C. 1326. If I am convict~d of illeg~lly re-e1~tering the µptt.::~ Stat~s, 8 U.S. C. 1326
              authorizes the Unite/I Stat.:s•lJistrict Courl to impose a fine,· period ·of'imprrson·me!lt uP.to t~n (10) ycars,'or both.
      □ SC31 B -1 further ur,derstand that I cannot re-enter the United St.ates prior to t~e mtiX:irt!um expiration of my sentence, unless I
              ;\:ccive prior writteq'. pennission from the NYS Board of Parole. 'Also, I fui"J'/~md~rS~arid that re:-e~try to the United States, prior
              ~.. 1 the maximum eXJ?)ration of my sentence, may be the basis for a revocation .of my, ~el~apy-: :                                                     i    '
      □ ~C32 - I will NOT use or possess any medication or supplements rlesigned or intendf:d for the, purpose o.f enhancing sexual
              Performance or treal_ing
              ;.                   ,J
                                       erectile dysfunction without the written permission :·or> the PAROLE OFFICER and the approval of his or
              ber area supervisor.
      □ ~C33 - Twill participate in the Department of Corrections and CommUnity Supervision's Polygraph Program, as directed by the
              'p A ROLE OFFICER. l understand that this will include periodic polygraph sessions consisting of a pre-~amination interview,
              ~'lolygrarh examination and post-test interview with the polygraph examiner or,the PAROLEDFFICER.
      □       $C34 - Prior to re!Case, I shall provide a sample, appropriate for D.N.A. testing, tci be'. incl~ded ifl the NYS D.N.A. lndex,
              rursuanl lo 9 N.Y.C.R.R. 6192.1 (W).
      □ ~C35 - I will NOT use th-~ internet to a~L·e::.~ por11b.graphic n~ate~ial; ~lCccss ri 'COpl~Crcia~
                         .        .          .    .:              ;    ,.,,,i.11· __ ,, ..   ,·_·,
                                                                                                              ~ocj?rri~Iwqrk\ng website,
                                                                                                   •-i,,•-.,-_.\,;;,}•·11·"' ,
                                                                                                         ·::,- . . . . , .. ,·,:~~·!
              co111111un1cate with other md1v1duals or groups ronhe-pUrpusc ofpromotuig sexual relat10ns With persons under the age of
              iighteen. and communicate with a person und~!" th~ a_gc 0f!ei_g~teen- urdess_ f fecei_v~' _wriil~i\ P?fm_ission frOm the NYS Board of
              Parole to use the i ntcrnet to commu~icate wi L)1>a ~i·n~t _Chiid ,•.m:d~l; ·eighieeri_":srearS bf .ige·. _:~h'◊\                                   am
                                                                               1
                                                                                                                                the darent of and who I am
              ~ot otherwise prohibited from communicating with. · .. ,i, - ·,         : ,,   '' '' •· ,                              ··

      D SC36 - I shall NOT be released until such time as any residence that has qeen or may be ·apprdved on my hehalf can be evaluated
              h.' the NYS Depart:T1ent or Currections and Community s·upel"vision to\id~eifmine it~ appropriateness in light of any
              ~1ctcrrninaLions mad~ by a court of competent jurisdiction pursuant to Article 10 of the Me,ntaJ Hygiene L3w.
               :                       .                                -                            .                . .~-            ,: !     .. ,, , ,, '. I,:; •';      ,:


                                                                                                                                                                                 Revised May 2014
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                                           ORC RECOMMENDED SPECIAL CONDITlONS


INMATE NAME: Goulbourne Jonathan                                                DIN:                            NYSID:
                                                                                                                       •',



D   SC37 - Pursuant to the authority conferred upon the NYS Board of Parole, under Section 70.45(3) of the NYS Penal Law, to
    )rnpose conditions of release upon an individual serving a determinate. sentence who is tO bi; released to the jurisdiction of the
    NYS Department of Corrections and Comm_unity'"_Sµp~rVi~iDrL to.serje a period ofpost-rel-~as~::s.~p_erv.ision, it is hereby
    tietermincd that as a condition of my post-relcas/ sUpC~·Visioi1, '1 ,sh'~n be trari~ferred to aii_dj~~~ti~i})at~ in the programs of a
                                                           1




    ·fcsidcntia\ treatment facility, as the term is del~ncd by NY CmTection ,~aw? Sectio~ 2(6l ipr a\period of tjme deemed appropriate
    by the NYS Board of Parole, but in no event ·shaHSUfh pe,~iod ,~xcee<f-Si~ ~O,nths;ftm:n1he!·date 6.f my err~rance into said
    1_:esidcntial treatmen_t facility.
D SC38 - I shall NOT be released until the NYS Board of Parole and NYS Department of Corrections and;Community Supervision
    ore inl'ormed of the Sex Offender Risk Level that has been' or will be est:iblished by:a court·of compctenOurisdiction pursuant to
    Correction Law 168 - N
                                                                                               '      '    '
D SC39A - I will have no contact, directly or indirectly, through thi1;d party, electronically, or by initiation'or response, with _ _.
    ~ will only have contact with any minor children in common with _ _ with approval and supervision of a Family Court Order
    of the permission of•the PAROLE OFFICER.
    l wil! enter, complete, and comply with a Domestic Violence Offellders program, as directed.by the PAROLE OFFICER.
    I will enter, complete, and comply with a Parenting Course, as directed by the PAROLE OFFICER.
0   SC39B - I will NOT reside with any partner without prior written permission of the PAROLE OFFICER.
    \ will immediately pYovide the PAROLE OFFICER of the contact informatio~ for any and all relationships I become involved in.
    J will provide a cop); of any active Order of Protection issued agiiinst me or for mY p-r~'teCtion to the PAR.OLE OFFICER within
    ~8 hours or being served with the order.
    I will comply with any and all "active" Orders of Protection.
D SC40A- I will NOT own, use, possess, purchase or have control of any cornputer,.-computcr"ielatCd material, electronic storage
    devices, communicalion devices, and/or the internet, unless I obtain prior written per~issipn fyp_rn the PA.ROLE OFFICER.
    Furthermore, if approved: If I am permitted by the PAROLE OFFICER to possess a toni'p~ter'it \ny'residence, permission will be
    grantedforonlyonecompl.lter         -        _ ,.,;.. _:!·   .    _·:_·           ·:<,.,.,•~ ·"i\-·,··,    .
    I will provide all personal, business, pho~e, .iritern~t\ervice provider, and/or .cable record,s, to the PAROLE OFFICER upon
    i:equest.                                         •:: ... __·.:,''·- ... · _· "·_ . --. _ . :-.~''    _' . : _i:r __ ,. , -~-::t    'J
0   SC40B - I will provide copies of financial do~umeiiis t,6 liie PAROLE'OFFICER ~tori';eque~t. '''rhese &,cuments may include,
    but are not limited to, all crcdil cards biils, bank statemenls, and income tax returns.
    J will provide all ust;r id's and
                                   r
                                      passwords required to acc~SS the compu~e'r~· miy c.M.o.s·. anctelOS,_i~temet service provider,
                                                                         --·                  • '      • - ,, ••     • .•\     , • ,.-, t
    imy/all email accourits. instant messaging accounts, any removable electronic media, including, but not limited to, media such as
    Smart cards. cdl ph6nes. thumb drives and web virtual storage.                                               .     · ,, , . _
0   SC40C - I will provide the PAROLE OFFICER with my passwprd and useiTD. for a~·y a~¢;bvJ~ device, I acknowledge that
    i'ndividuals who ha~'e access to my computer system and/or oth~r communication ·6r e1ectr0nic" stor3.ge db'.vices will also be subject
    lo monitoring and/or search and seizure.                                                              .     .
    1  agree to be fully rSsponsible for all material, data, images and informationTound on my_ ~ornpy.t~( and16:r other communication
    {:ir electronic storag~·-devices at all times.                   '                     · '          "
D SC40D - I will NO't create or assist directly, or indirectly, in the creation of any electronic bulletin board system, services that
    i\rovide access to th8 internet, or any public or private compu:ter network without prior.,written app~·oval from the PAROLE
    OFFICER.             .                                                       ..                               .
    f' will NOT use any form or encryption, cryptography, steganography, compression and/or other method Jhat might limit access to,
    {.ir change the appearance of. data and/or images without prior written approval from the PAROLE OFFICER.
D Sc40E - I will NOT attempt to circumvent, alter, inhibit, or pr~vent the functiOning of an)' Aio-nttoring ot iil11iting equipment,
    device or software that has been installed by or at the behest or,. or is being utilized by,-th~-Dep'r.!rtrnent of Corrections and
    Community Supervision for thL' purpClses Or reco;d~n_g;-'.munitori~g or"Iiniidng mi.~P-1llput~r or.'.inia,rnet u~e and access, nor will I
                                                               .                  '         :•          'i  ,·
    (arnper with such equipment, device or sOftwnrc ·i-'r1 :any way.                                                 ,
D SC40F - I will cooperate with unannounced examinations dirc!cted.by, the,PAROLE.OFF(CER of.any a1i9 all computer(s) and/or
    other electronic device(s) to which I have ac•cc'ss: This inclucjes·access tbalhdata and/or {magb,,stored on hard disk drives, floppy
     .                                                      ·,.: ':,\;. '·'')!·I·,,.:.;:,                        .
    Chskcttes. cd rorns, ~ptical disks, magnetic tape, cell pho"nCS~ and/or an)' other storage media whether insfalled within a device or
    femovahlc.
    1will install or allmv to he i;1.,t~llcd, at my own expense, :kc.1uipm~nt and/or ~oftwa1:·e t0- rrionit~;- of'lirriit J~mputer use.
D 5C41A- l shall install an<l maintain, in accordance with the provisions of Section .1198 of the NYS Vehfole and Traffic Law, an
    !_ gnition Interlock Device in ,any motor vehicle _owned or operated_ ~y me_ du1ring the.peti.od-of my,cO.mmunity supervision. This
                                                                                                                1
    ~onclition does not ~11thorize me to operat~ a motor vehi~le in d~e ~ve~t mY ·uc~nse ·.or .priv~i~'ge. t~ operat~j a motOr vehicle has
    ~1ccn revoked or sw;f)ended.
0   SC41B - Pursuant t:o the provisions of the Vehicle and Traffic Law or the L~ws of any other State, I mat obtain a license to
    (Jpcrate a motor vcl·icle only with the prior written permission o:Cthe PAROLE. bFFICpR':-rf"fJ)~SseSs·a license to operate a motor
    ~;chicle, I may oper<i.te a motor vehicle with the prior written permfsSion ofth~ PAROLE'OFFICER, and.in accordance with this
    romlition or release:-
□ ~C42 - I will submit to photo imaging every 90 days or whenever directed by the PARoLE OFFiCER or other representative of
    ~he NYS Departmcn't of Corrections and Community Supervision.
D   FCOl A, B, C, D - Sex Offender Housing Condition (SOH220) -1 will propose a residence to be investigated by the Department
    ~~r Corrections and Community Supervision and will assist. the Department in a_ny iffor'ts 'i~ !1}3.y·fnhke or.':my behalf to develop a

                                                                                                                                Revised May 2014
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                                            ORC RECOMMENDED,SPECIAL CONDITIONS
    .
                                                                            :, ...                                      ,lf\       .

                                                      .
                                                                                         ·.
                                                                                                .    .           1·,·
INMATE NAME : Goulbourne Jonathan                                                 DTN:                                         NYSID:
    i
                                                                                                           ' "
                                                                                                                                       •
    HI am deemed a Level 3 risk pursuant to Arti;:l~ 6~c'-.6T:.thJ,-corr~~tiOrdi1\V'; ~r -          I:'~tm J~~ti~fo~·~ ~r mdre sentences for
    (:Orrnnitting or atten~pting to commit one or more otte~se(s) under Articles 130, 135 or 263 of the Penal Law or sections 255.25,
    ?55.26 or 255.27 of the Penal Law and the victim of such "-;>ffense(s) was, un~er 1R:yeafs of ag~-.'at the ~inw of the offense(s), and
    as such I must com1.jJy with section 259-c(l4) ofthe Exectitivc Law, I Will nOt-be.-ieleased-urttil a residen,'4e is developed and it is
    \·erified that such acjdress is located outside the penal law definition of school grounds antj is approved b~ the Department.
    ln pertinent part, Executive Law §259-c(l4) provides: "the board shall require, as:.a m,wd~fJ)ry,conditioi1 of such release, that
    Such sentenced o,ffeuder shdit reji-ain from knOwingly entering }\PJ ·[n,·upon· ~ny sdlwl;/'grUi_(,~ds, ·Cl~ _fhai (~niz is defined in
    Subdivision fourtee;j· of section 220.00, or the penal law, or any otherfacility <ir i,i~titU..fion·_pi-imarily use4 for the care or
    freatrnenr of person.~ under the age of eighteen while on or more of sue~ persons utider th_e age of eighteen are present, ... " Penal
    ).,aw §220.( 14).     ··                                                                                  ·        ·

    ::I School grounds" 1Ti_eans (a) in or on or within any building, structure, athletic playing field, playgfound -or land contained within
    the real property boundary line of a public or private elementary, parochial, intermediate, junior high, voCational, or high school,
    br (b) any area accessible to the public located within one thousand feet of the real property boundary lin·e comprising any such
    -~chool or any parked automobile or other parked vehicle located withi~ one thousand feet of the real property boundary line
    tomprising any such school. For the purposes of this section an "area accessible to the public" shall mean sidewalks, streets,
    (1arking lots, parks, playgrounds, stores and restaurants.                                                                                ·
D   FC02 A, B - Sex Offender Residential Treatment Facility program conditions (RTF220) -•Piirsuitnt to the authority confeITed
    Lpon the New York State Board of Parole under section 70.45(3) of the penal law to impose conditions of release upon an
    individual serving a determinate sentence.who,is :to hl-,'Ft'kased:tO',serv,a a period of-.r0st~P&Ie1Se:.&'upervisi:on, as a condition of
    your post-release supervision:you shall be "rransfe.tr¢'d to and P"-_rticip~te tn_· t_hy prOgfims o_:f a re"sltle_ntial treatment facility, as that
    l"erm is defined by Correction Law section 2(6) uritH-:soCh time as a festdenCe has been apJ?roved and such address has been
    \·erilied to be located outside of the penal law.:definitJoF!:ofschool grounds,:-i,<•             .:.;,,~                r,j




                                                                                                                                           Revised May 2014
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     SUPREME COURT OF THE STATE OF NEW YO~
     COUNTY OF QUEENS: CRIMINAL TERM, PART_ I ~.,:Y




     THE PEOPLE OF THE STATE OF NEW YORK

                              -against-                             Certification Pursuant to
                                                                    7 NYCRR        1900.4(c)(l)(ii)



                                     Defendant


            It is hereby certified, pursuant to 7 NYCRR 1900.4 (c)(l)(iii), to the New York

     State Department of Correctional Services that the current commitment

                                             ,is based upon a conviction for   C f>t,J ~              a,

     violation of Seca(oS.<.'13      of Penal Law, a crime listed in 7 NYCRR 1900.4 (c)(l)(ii)

     which is a subdivis.ion which does not involve either the use or threatened use of a deadly ·

     weapon or a dangerous instrument or the infliction of a serious physical injury as defined in the

     Penal Law.



     Dated: Kew Gardens, New York

             II/   r, / tf/
                                                                           Suprem~ourt Justice
                                                                       . H()N.~RRYKRON
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       _JNE\V                I
   )              YORK
  ·              ;f;!ATE
                             I
                                 Comn1unity Supervision
   ANDREW 11/1. CUOMO                                ANTHONY J. ANNUCCI
   Governor                                          Acting Ccmmlssloner




                                                              Date: 7/24/2015




  Queens County Supreme Court Clerk
  Queens County Supreme Court
  125-01 Queens Blvd.
  Kew Gardens, NY 11415


  RE: GOULBOURNE, JONATHAN                                                          DIN#:

  INDICTMENT#: 2642-13                                                              NYSlD#:

  Dear Sir/Madam:

    Pursuant to Section 60.35 of the NYS Penal Law, the following monies have been collected from the above--
  mentioned inmate based on the mandatory surcharge, fine, DNA fee, DWI/other, crime victim assistance fee, sex
  offender registration fee, and/or supplemental sex offender victim fee and restitution ordered by your Court:

                                          Amount            Paid- 6/30/15            Amount             Amount
                                          Ordered       In Full Deferred             Paid               Owed

                                           $
                                                                     □
  Mandatory Surcharge:                         300.00,                         $ ;!00.QQ            $        -0-
  Crime Victim Assistance Fee:             $    25.00
                                                                     □         $ 25.00              $
  DNA Fee:                                 $
                                                         □           □          i                   $
  Fine:                                    $
                                                         □           □          $                   $
  DWI/Other:                               $
                                                         □           □          $                   $
  Sex Offender Registration Fee:          $
                                                         □           □         $                    $
  Supplemental Sex Offender Fee:          $
                                                         □           □          $                   $
  Re~titution:                            $
                                                         □           □         $                    $

  Released;

       If you should require additional information, please contact me.

                                                             Sincerely,

                                                             . ,~\. ~'              • ~o'b--.., ,,.,Q
                                                              r'-::J..J'-'"v....., , ~ ....,
                                                             'Sherri Debyah
                                                              Inmate Records Coordinator I
  cc:        Legal File
             Guidance
             Inmate




            Adirondack Correctional Faciltty, 196 Ray Brook Rd, P.O. Box 110, Ray Brook, NY 12977-0110 I (518) 891-1343 J
                                                         \V'Nw_doccs,ny.gov
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                                                                                    3712
                                                                                                                                                  Criminal Form 1
                                                                                                 ~                                                    12/2013
     )RI No:                                                                 Atatermofthe . ..;;i~M*court,Co101%of                       - ~
     )rdr;rNo:
                         ------                                              attheC.ourthouseat ~          2£~
                                                                                                             7                          "1Jf~ rn-York

                                                                                                                ORDER OF PROTECTION
                                                                                                                Family Offenses - C.P.L. 530.12

                                                                                                   0 Yout~ Offender (check if applicable),.,., .NJ                                1   /Y?
                                                                                                   Part: r--=15         Index/Docket ~7: &:Al// ?                   a.A.JtJ Y J:?;l'
                                                                                                   Indictment No., if any: J/.6 1./;l.{d-lJl,3 ..-                                         ·
             .                                                                                     Charges: ---t/P'--'"l..__,,.:2,..,&,,,_,,,t;;..<,,C=. ...,,3,,,,__ _ _ _ _ _ _ __
 itgainst
         --r~ ,, · L:J2vt
                   /) ·/! .,. _ .
         ~+vf(;t "'1'
                                                                              .          .  [Cbeckb°:1: 0 ExParte ~DefendantPresen'tlnC~urt
                                                     ~ 1.1 1 ,;.cbefendant Date of Birth: ?~/7- ?'6
                                                                                                                                                                                               ·
 NOTICE: YOUR FAILURE TO OBEY THIS ORI>ER MAY SUBJECT YOU TO MANDATORY ARREST AND CRIMJNAL PROSECUTION
 'WBICH MAY RESULT lN YOUR INCARCERATION FOR UP TO SEVEN YEARS FOR CONTEMPT OF COURT. IF THIS IS A
 TEMPORARY ORDER OF PROTECTION AND YOU FAIL TO APPEAR IN COURT WHEN YOU ARE REQUIRED TODO SO, TIDS
 ORDER MAY B~ EXTENDED 1N YOUR ABSENCE AND THEN CONTINUES IN EFFECT UNTJL A NEW DATE SE'J' BY THE COURT.
 THIS ORDER OF PROTECTION Wll.,L REMAlN 1N EFFECT '.EVEN IF THE PROTECTED PARTY HAS, Oll. CONSENTS TO HAVE,
 CONTACT OR COMMUNICATfON WITH THE PARTY AGAINST WHOM THE ORDER IS ISSUED. THIS ORDER OF PROTECTION·
{~,ONLY BE MODIFIED·OR-TERMINATED BY THE COURT. THE PllOTECTED PARTY CANNOT BEHELD TO V"IOLATE TIIlS
 ORDER NOR BE. ARRESTED FOR VIOLATING TIIlS ORDER.
                                                                                                                 •                                                       1             •



 I!{_ TEMPORARY ORDER OF PROTECTION - Wh~as good cause has been shown for the issuance of a tempor~ order of protection [as a condition
 <;~ ·, r~cognizance Q release on bail O adjournment in contemplation of dismissal]                                                 .
·~ 4 ~RDER OF PROTECTION - Whereas defendant has been convicted of [specify crime cir v i o l a t i o n } : - - - - - - - - - - - - - - - ~
 '                    And the Court having made a determination in accordance with section 530.I'.2 of-the Criminal Procedure Law,

 IT IS HEREBY ORDERED that the above-named defendant observe the following conditions of behavior:
·[Check applicable paragraphs and snbparagraphs]:
 t0l] □ Stay away from [A     [name(s) of rotec person(s) orwitness(es)]:                                                                ---~and/or from the
                      [BJ!home of                                                      , [C]~schoo .              •
     ~                [DJ business of                   ·                             · [EJ_;8:Place of employment o f - - ' . . _ - - - - - - - - - - - ~
                      [F].  other _ _ _ _ _ _ _ _- - ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - , - - -
                 i - 0-e cept for contact, communication: or access permitted by a subsequent order issued by a fanrily or supreme court in a custody, visitation or
                  ;c child abuse or neglect proceeding.

 [14) 1j!f             Refrain from colllIDuni                                  mail~ telephone, e-mail, voice-mail or other electronic or any other.means with [specify·
                        protected person(s)]:
                      - 0 except for contact, \,UJ.UJ.J.ttn.u,,.,,u,m   ess permitted by a s   quent order issued by a family or supreme court in a custody, visitation or
                        child abuse or neglect proceeding.

                         Refrain from assault, stalking, harassment,: aggravated harassment; menacing, reckless endangerment,. strangulation, criminal obstruction of
                         breathing.or circulation, disorderly conduct, criminal mischief, sexual,abuse, sexual misconduct,. forcible touching, intimidation, threats, identity
                         theft, grand larceny, coercion or· any en                                           son( s), m~IE?_ers of~~ person'~_fa.n?ly Cir house:J:iold., or
                      -~-pe:r$Q!'i.{s)-·11with custody-of chil<l{re.u)J:-

 [15] 0                 Refrain from intentionally injuring or killing without justificatioll'1he following companion animal(s) (pet(s.)) [specify type(s) and, if available,
                      · name(s)]:·_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ___,

 [11] □                 Permit[specifyindividual]: _ _ _ _ _ _ _ _ _--'toentertheresidenceai[specify}:_ _ _ _ _ _ _ _ _ _ _-'.during{specify-
                        date/time):               '·              with [specify law enforcement agency, if any]: , to remove personal belongings not
                        in issue in litigation [specify items):._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 [04] 0                 Refrain from [indj.cate acts]:                                       .                                                                                                 that
                        create an unreasonable risk to the health,, safety, or welfare of [specify child(ren), family or household member]:


 [QSJQ, Permit [specify individual(s)]: _ _ _ _' - - - - - - - - - - - - - - - - - - - - - ' entitled by a court order or separation or
         ·        : . other 'Written agreement, to visit with [specify child(ren)]:                                                              during the following periods of time
                 •·     [ s p e c i f y ] : - - - - - - - - - - - - ~ uµderthefollowingtenns and conditioil/l [ s p e c i f y ] : - - - - - - - ' - - - - - - - -


                        Surrender any and all handguns, pistols, revolvers, rifles, shotguns and other :firearms owned or possessed, including; but not limited to, the
                        fullowmg _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ and do not obtain any further guns or other firearms. Such surrender shall take
                        place immediately, but in no event later than [specify date/time]:_ _ _ _ _ _ _ _ _at:. _ _ _ _ _ _ _ _ _ _ _ _ _ __

 [ ] Q
           Case 1:22-cr-00106-LDH
                             UNIFORl\'lDocument
                                       SENTENCE 361-4   Filed 06/07/24 Page 32 UCS-85•1(8/20H)
                                                & COMMITMENT                   of 33 PageID #:
STA1'E QF N~WYORK                                  3713           Court Part:  TAP A
SUPREME; COURT, COUNTY OF QUEENS
                                                                                                                                 Court Reporter:                 _&
                                                                                                                                                                  ___L-_/lt
                                                                                                                                                                        __W_r_,$__-c.,-
PRESENT: HON KRON,B                                                                                                              Superior Ct. Case #: ·"o2:::6c:.;4c::2·. ::2;::0.:c!3::.._ _ __
    ··•
           .'               The People of the State of New York                                                                     Ill llllllll I IIIII II II lllllllll II 11111
                                                                                              Accusato ry Instrument Charge(s)                   Count# Law/Section & Subdivision
                                       -vs-                                                    I   CPW3 - , . - - - - - - - - _8__P_L_2_65_.0'-2-'-(0:.cl.:...)_ _
                               JONATHAN GOULBOURNE                                             2   ASLT3 '                     9 PL 120.00(01)
                                              Defendant                                        3   RES ARR,--------- _lQ_ ~P_L_2_os_.3_o-'-co_o.:...)_ _
                                                                                              4    CPW2_ _ _ _ _ _ _ _ _3__P_L_2_65_.0_3-'-(0_3"'-)_ _
          Male          07/19/1978
     ,1   Sex              DOB             NYSID#:          Criminal Justice Tracking#        Date(s) of Offense:            08/09/2013            To

    THE ABOVE NAMED DEFENDANT HAVlNG BEEN CONVICTED BY [ [ZJPLEA OR □VERDICT] , THE MOST SERIOUS
    OFFENSE BEING A [ [ZjFELONY OR □MISDEMEANOR OR □VIOLATION] , IS HEREBY SENTENCED TO:
                          Crime                   Count          Law/Section           SMF,Hate            Minimum            Maximum             Definite/           Post-Release               CJTN
                                                    #           & Subdivision          or Terror            Period               Term          Determiriate **         Supervision
     I      '
          CPW2                                       1     PL 265.03(1B)                                                                       3 1/2 yrs (Del)         2 1/2 yrs
     2          -i                     .

     3            ,n~
    4
          .,
                                   r                                                                       .



'·~✓-~
,,,i,           ~ TE:   For each DETERMINATE SENTENCE imposed, a corresponding period of POST-RELEASE SUPERVISION MUST be indicated [PL § 70.45].

               Counts _ _ _ _ _ _shall run CONCURRENTLY with each other                    □ Countis) _ _ _ _ _ _shall run CONSECUTIVELY to count(s)


    §          Sentence imposed herein shall run CONCURRENTLY with           _ _ _ _ _ _ _ _ _ _ _ _and/or CONSECUTIVELY to
               Sentence imposed herein shall include a CONSECUTIVE _ _ _ _ _ term of[D PROBATION OR D CONDITIONAL DISCHARGE
               with an Ignition Interlcick Device condition, that shall commence upon the defendant's release from imprisonment [PL§ 60.21]
                                                                                                                                                             _ _ _ _ _ _ _ _ _ _ __
                                                                                                                                                                                                    l.




    §
               Conviction includes:      WEAPON TYPE:                                                                      and/or DRUG TYPE:
               Charged as a JUVENILE OFFENDER- age at time crime committed:             _ _ years                          Court certified the Defendant a SEX OFFENDER [Cor. L § 168-d]
               Adjudicated a YOUTHFUL OFFENDER [CPL § 720.20]                                                              CASAT ordered [PL§ 60.04(6)!
·              Execute as a sentence of PAROLE SUPERVISION [CPL § 410.91]                                                  SHOCK INCARCERATION ordered [PL§ 60.04(7)1
               Re-sentenced as a PROBATION VIOLATOR [CPL§ 410.70]

    D As a: D Second O Second Violent            D Second Drug D Second Drug w/prior VFO D Predicate Sex Offender                                                FELONY
            D Predicate Sex Offender w/prior"VFO D Second Child Sexual Assault O Persistent O Persistent Violent                                                 OFFENDER


    D [Z]                 §
    Paid Not Paid Deferred (lf d8terred, court must file written order [CPL §420.40(5)1) Paid Not Paid Deferred (If deferred, court must file written order [CPL §420.40(5)])

                                            $300.00
                               Mandatory Surcharge                                                   □
                                                                                                     0D
                                                                                                               [71             Crime Victim Assistance Fee          $25.00
    □- □
    [?  J
    LJ LJ
                            Fine
                            DNA Fee
                                            $____
                                            $50.00
                          □ DWI/Other _ _ _ $ _ _ _
                                                                                                     D D
                                                                                                     □ □
                                                                                                                           H
                                                                                                                           D
                                                                                                                               Restitution           •
                                                                                                                               Sex Offender Registration Fee
                                                                                                                                                                    $_ _ _ __
                                                                                                                                                                     $_ _ _ __
                                                                                                                               Supplemental Sex Off. Victim Fee $_ _ _ __

    THE SAID DEFENDANT BE AND HEREl!Y,1~ COMMITTED TO THE CUSTODY OF THE:
    [ZJ NYS Department of Correctional.Services (NYDOCS) until released in accordance with the law, and being a person sixteen (16) years or older not presently in the custody of the
           NYSDOCS, (New York City Department of Corrections) is directed to deliver the defendant to the custody of NYSDOCS as provided in 7 NYCRR Part 103.
    O NYS Department of Con-...ctional Services (NYDOCS) until released in accordance with the law, and being a person sixteen (16) years or older presently in the custody of
      NYSDOCS, .defendant shall remain in the custody of the NYSDOCS.
    D NYS Offi._ce of Childrell and Family Services in acco:dance with the law, being a person less than sixteen (16) year5 of age at the time the crime was committed.
    □                                                                   ·
                                                                      Caunty
                                                                             Jail/C         · -'F ili'ty
                                                                                    orrect:J.on;:u ac
                                                                                                                                                                 ~---c-,m-m~.,,-,m~.-a~•,-,,~,---~
                                                                                                                                                                         Protection & Pre-sentence
               -~----------------                                                                                                                                         Report received byCorrec~onal
                                                                                                                                                                             Authority as in,.!icated:
    TO BE HELD UNTIL THE JUDGMENT OF THIS COURT IS SATISFIED.

    REMARKS:              V\(N(\,Y- \j \.°"l. C)\/H ( l'&                     'a'(0()-1{ c_                                                                                         Official Name


                                                                                                                                                                                     Shi~d No.




    Pre-Sentence Investigation Report          Attached:   §    Yes   ~ No
                                                                                      D Amended Commitment: Original Sentence Date:
    Order of Protection Issued:
    Onlero
    /L
                           on Attached:
                             _A_.P_HE
                                   __
                                                                Yes
                                                                Yes
                                                                            No
                                                                            No   £    ____
                                                                                          7717
                                                                                                   ~           /,/,1 /
                                      FF_E_R_ _ _ _ _ _ _ _ by: ----'--'---~''-'k:::L..!:~'-,_,,_:A=-~--'-~-- .::s:.::c:;:c:__ _ _ _ _ _ _ __
/          Da                              Clerk of the Court                                                  Signature                                              Title
                                   Case 1:22-cr-00106-LDH             Document 361-4 Filed 06/07/24             Page 33 of 33 PageID #:
                                                                                  3714

                                  THE CITY OF NEW YORK DEPARTMENT OF CORRECTION
01-DEC-14 15:27:39                           JAIL TIME CERTIFICATION                                     PAGE       l
NYSID:                          Docket #:                                              Indictment#:        02642/2013
Name: GOULBOURNE, JONATHAN
Controlling City Sentence Time:?0000                                         Calculated Jail Time        0480
                                                                            + Additional Jail Time       0000
                                                                            - Excess Jail   Time         0000
                                                                             Total Jail Time             0480



               All Department of Correction procedures were f o e - r e p a r i n g the certification.



                     Jail Time Certified by______________________                                        Facility: AMKC
- "-------------------------------------------------------------------------------------------
                           Associa~~d                 Arrest       Discharge         Last   Start City
:;t.::.-::-s         Doc:.Ce;:          :11dictment    Date        Da::.e       Code Haus Sent· Date Sent       #       # Days
9801300736 2013QN044328                 02642/20·13    09-AUG-13                     AMKC                               0480




                !
